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                                                                             Page 1
             IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                     GAINESVILLE DIVISION
         _________________________________
          FAIR FIGHT, INC.,               )
          SCOTT BERSON, JOCELYN HEREDIA, )
          and JANE DOE,                   )
                                          )
               Plaintiffs,                )
                                          )
          v.                              )    Case No.
                                          ) 2:20-cv-00302
          TRUE THE VOTE, CATHERINE        )      SCJ
          ENGELBRECHT, DEREK SOMERVILLE, )
          MARK DAVIS, MARK WILLIAMS,      )
          RON JOHNSON, JAMES COOPER,      )
          and JOHN DOES 1-10,             )
                                          )
               Defendants.                )
         _________________________________)

                Videotaped Deposition of MARK DAVIS
                    Conducted Remotely via Zoom
                      Monday, October 4, 2027
                           9:04 a.m. EDT

           Reported by Lisa A. Knight, RDR, CRR, RSA
         __________________________________________________
                          DIGITAL EVIDENCE GROUP
                      1730 M Street, NW, Suite 812
                         Washington, D.C. 20036
                             (202) 232-0646


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   1                       DIGITAL EVIDENCE GROUP

   2                     Pursuant to Notice, the videotaped

   3     deposition of MARK DAVIS was conducted

   4     remotely via Zoom on behalf of the

   5     Plaintiffs, at 9:04 a.m. EDT, on Monday,

   6     October 4, 2021, reported stenographically by

   7     Lisa A. Knight, Realtime Diplomate Reporter,

   8     Certified Realtime Reporter, and Realtime

   9     Systems Administrator.

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                                                                             Page 3
   1                       A P P E A R A N C E S
   2                       (Appearing Remotely)
   3                          *     *     *
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   1               A P P E A R A N C E S (Cont.)

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   9              Terre Haute, Indiana 47807

 10               812.232.2434

 11

 12      ALSO PRESENT:

 13               HENRY MARTE, VIDEOGRAPHER

 14

 15

 16

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   1                                 I N D E X
   2                               MARK DAVIS
   3                            OCTOBER 4, 2021
   4     EXAMINATION OF MARK DAVIS:                                        PAGE
   5              BY MR. SHELLY                                              8
   6              BY MS. SIEBERT                                           156
   7
   8                          DEPOSITION EXHIBITS
   9                                 MARK DAVIS
 10                             OCTOBER 4, 2021
 11      NUMBER                  DESCRIPTION                               PAGE
 12      Davis A              Plaintiffs' Notice to                        13
                              take the Deposition of
 13                           Defendant Mark Davis,
                              No Bates
 14      Davis B              Affidavit of Mark Davis,                     80
                              No Bates
 15      Davis C              Mark Davis Facebook Post,                    114
                              May 7 at 2:07 p.m.,
 16                           No Bates
 17      Davis D              E-mail string, top e-mail                    70
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 18                           from Derek Somerville,
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 19      Davis E              Zoom meeting invitation                      143
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 20                           12/27/20, No Bates
 21      Davis F              Mark Davis Facebook Post,                    142
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 22                           No Bates


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   2                                 MARK DAVIS
   3                            OCTOBER 4, 2021
   4     NUMBER                  DESCRIPTION                               PAGE
   5     Davis J              Zoom meeting invitation,                     144
                              12/30/20 (Georgia Elector
   6                          Challenger Townhall),
                              No Bates
   7     Davis K              Mark Davis Facebook post                     116
                              dated May 7 showing
   8                          partial tag list, No
                              Bates
   9     Davis L              Printout of Data                             19
                              Productions' website,
 10                           No Bates
 11
 12
 13
 14
 15      **REPORTER'S NOTE:             All quotations from
 16      exhibits are reflected in the manner in which
 17      they were read into the record and do not
 18      necessarily indicate an exact quote from the
 19      document.
 20
 21
 22



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   1                               PROCEEDINGS

   2                         THE VIDEOGRAPHER:                We are now

   3              on the record.            My name is Henry

   4              Marte; I'm a videographer on behalf of

   5              Digital Evidence Group.                   Today's date

   6              is October 4, 2021; and the time is

   7              9:04 a.m.

   8                         This deposition is being held

   9              by remote Zoom in the matter of Fair

 10               Fight, Inc., et al., versus True the

 11               Vote.      The deponent today is Mr. Mark

 12               Davis.      All parties to this deposition

 13               are appearing remotely and have agreed

 14               to the witness being sworn in

 15               remotely.

 16                          Counsel, please identify

 17               themselves for the record, after which

 18               the court reporter will administer the

 19               oath to the witness.

 20                          MR. SHELLY:           I'm Jacob Shelly

 21               from Elias Law Group representing

 22               plaintiffs.



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                                                                                   Page 8
   1                         MS. BRYAN:          Good morning.             I'm

   2              Leslie Bryan with Lawrence & Bundy,

   3              representing plaintiffs.

   4                         MS. TAYLOR:           Torryn Taylor from

   5              Perkins Coie, also with plaintiffs.

   6                         MS. FORD:          Christina Ford from

   7              Elias Law Group representing

   8              plaintiffs.

   9                         MS. KRAMER:           Courtney Kramer

 10               with Bopp Law Firm representing

 11               defendants.

 12                          MS. SIEBERT:            Melena Siebert

 13               with The Bopp Law Firm representing

 14               defendants.

 15                                MARK DAVIS,

 16      having been first duly sworn to state the

 17      whole truth, testified as follows:

 18                                EXAMINATION

 19      BY MR. SHELLY:

 20               Q.         Good morning, Mr. Davis.

 21                          Could you just state your

 22      record -- your name -- your full name for the



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                                                                             Page 9
   1     record once more.

   2              A.         Mark Alan Davis.

   3              Q.         And your address, for the

   4     record.

   5              A.         325 Wesfork, W-e-s-f-o-r-k,

   6     Way, Suwanee, Georgia 30024.

   7              Q.         Thank you.

   8                         And I'd like to start by going

   9     over some of the ground rules for this

 10      deposition, which will overlap slightly about

 11      what the stenographer just said, but just to

 12      make sure we're all on the same page.

 13                          All testimony here is under

 14      oath just as if you were testifying in court.

 15      Does that make sense?

 16               A.         It does.

 17               Q.         How many times have you been

 18      deposed before?

 19               A.         Let me think here.

 20                          (Pause.)

 21                          I don't recall exactly off the

 22      top of my head.           I'd have to think about that



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   1     one for a few minutes.

   2              Q.         More than five?

   3              A.         No.     Less than five.

   4              Q.         But more than one?

   5              A.         More than one, yes.

   6              Q.         Fair enough.

   7                         For the benefit of everyone and

   8     the court reporter, and especially since we

   9     are all remote, please make your answers

 10      audible because head shakes and nods are hard

 11      to put in the record.

 12                          Please allow me to finish my

 13      question before giving your answer.                          That

 14      will also help us have a clean transcript for

 15      the record.

 16                          Does that sound good?

 17               A.         Yes.

 18               Q.         From time to time, your

 19      attorney may make an objection -- and that's

 20      fine -- but you are to answer it regardless,

 21      unless she specifically instructs you not to

 22      answer.



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                                                                                  Page 11
   1                         Does that make sense?

   2              A.         Yes.

   3              Q.         If at any point you do not

   4     understand a question that I am asking, will

   5     you please let me know?

   6              A.         Yes.

   7              Q.         And I will do my best to

   8     rephrase or otherwise clarify the question.

   9     If you do answer a question, I will assume

 10      you understood it.

 11                          Is that fair?

 12               A.         Yes.

 13               Q.         If, at any time, you would like

 14      to take a break, please let me know, and I

 15      will try to find a good place to stop, and we

 16      can go off the record for a few minutes.                          The

 17      only exception is that if I have asked you a

 18      question, I do ask that you answer the

 19      question before we take a break.

 20                          Is that all right?

 21               A.         Understood.

 22               Q.         And you gave me your home



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                                                                               Page 12
   1     address.       Is that the address you are located

   2     for this deposition?

   3              A.         Yes.

   4              Q.         And how are you viewing this

   5     deposition?         Is this a laptop?                It looks like

   6     a computer of some sort.                  I imagine it's not

   7     a phone.

   8              A.         This is a workstation.

   9              Q.         And do you have any documents

 10      with you related to this deposition, either

 11      hard copies or electronic?

 12               A.         In this room or at my disposal?

 13               Q.         At your disposal.

 14               A.         No.

 15               Q.         And is anyone in the room with

 16      you?

 17               A.         No.     I have a wife upstairs

 18      who's doing her own Zoom meeting today.

 19               Q.         Okay.      I have a kid home sick,

 20      who may be making an appearance at some point

 21      as well, but hopefully it's just you and me.

 22                          Because we are taking your



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   1     deposition remotely, I may not always be able

   2     to see what you have in front of you or if

   3     you [sic] may enter the room while you're

   4     testifying.

   5                         Do you understand it would not

   6     be appropriate for your attorney or anyone

   7     else to tell you how to answer a particular

   8     question I ask?

   9              A.         Understood.

 10               Q.         And do you agree that while we

 11      are testifying today, you will not exchange

 12      communications, whether by text, e-mail, or

 13      other messaging, about how to answer the

 14      questions that I ask?

 15               A.         Yes.

 16               Q.         Okay.      Great.         Let's get

 17      started.

 18                          MR. SHELLY:           Henry, can you

 19               please pull up Exhibit A.

 20                          (Davis Exhibit A,

 21               Plaintiffs' Notice to take the

 22               Deposition of Defendant Mark



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                                                                            Page 14
   1              Davis, No Bates, was marked for

   2              identification, as of this

   3              date.)

   4     BY MR. SHELLY:

   5              Q.         Mr. Davis, do you recognize

   6     this document?

   7              A.         It appears to be the first

   8     page of the lawsuit.

   9                         MR. SHELLY:           If you can scroll

 10               down, Henry.

 11      BY MR. SHELLY:

 12               Q.         This is the notice about this

 13      deposition we're taking right now.

 14               A.         Okay.

 15               Q.         Have you seen this before?

 16               A.         I don't know that I have.

 17               Q.         Are you prepared to testify

 18      today?

 19               A.         I am.

 20               Q.         Without disclosing any specific

 21      communications you may have had with your

 22      lawyers, can you describe at a high level



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   1     what you did to prepare for today?

   2              A.         Nothing comes to mind other

   3     than discuss it with my attorneys.                          You know,

   4     I was told generally what you said earlier,

   5     about waiting for the full question before

   6     answering and so on, so forth.                       It basically

   7     said about what you said.

   8              Q.         Okay.      Great.

   9                         I would like to start with --

 10                          MR. SHELLY:           You can take that

 11               down, Henry.          Thank you.

 12      BY MR. SHELLY:

 13               Q.         I would like to start with some

 14      brief background about yourself.

 15                          Can you tell me where you grew

 16      up?

 17               A.         I grew up in Atlanta, Georgia.

 18               Q.         Have you been in Georgia your

 19      whole life?

 20               A.         All but about a year of it,

 21      yes.

 22               Q.         And you're registered to vote



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                                                                             Page 16
   1     in Georgia?

   2              A.         I am.

   3              Q.         In which county?

   4              A.         Gwinnett.

   5              Q.         And how long have you been

   6     registered to vote in Georgia?

   7              A.         It would have been since

   8     I was -- I believe since I was 18,

   9     thereabouts.         I don't remember the exact date

 10      that I registered.

 11               Q.         That's fine.

 12                          Have you ever registered to

 13      vote in any other state?

 14               A.         No.

 15               Q.         Can you tell me a little bit

 16      about your educational training.

 17               A.         I was a political science major

 18      at Georgia State University.                     And after that,

 19      I have taken some campaign classes, attended

 20      the United States Campaign Academy in

 21      Washington, which was basically a

 22      seminar-type situation.



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   1              Q.         Have you received any formal

   2     training in quantitative analysis or

   3     statistics?

   4              A.         No.

   5              Q.         What do you do professionally?

   6              A.         I'm the president of Data

   7     Productions, which does marketing for

   8     commercial, nonprofit, and political

   9     organizations.          And I create an enhanced

 10      version of the Georgia Voter Database that

 11      candidates and organizations use when they

 12      run for office.

 13               Q.         How long have you held that

 14      role?

 15               A.         Data Productions was

 16      incorporated in 1991.                Over the years, we

 17      merged with another company, and I bought it

 18      back.     And it's kind of a long story, but

 19      I've been doing this kind of work for

 20      approximately 30 years now.

 21               Q.         Are you the founder of Data

 22      Productions?



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   1              A.         Yes.

   2              Q.         How many employees does Data

   3     Productions have?

   4              A.         Currently, just two.

   5              Q.         You and one other or two in

   6     addition to you?

   7              A.         Myself and my wife.

   8              Q.         And give me a brief overview.

   9     Can you tell me a little bit more about what

 10      services Data Productions provides?

 11               A.         We do a lot of direct mail, do

 12      a lot of data processing, customer reporting,

 13      a lot of data analytics, and project

 14      management.

 15               Q.         Can you give me an example or

 16      two of a typical data processing service you

 17      perform?

 18               A.         A lot of it is for direct mail

 19      campaigns.        I have commercial, nonprofit, and

 20      political projects that I take.                       And I will

 21      manage the data processing, the printing, the

 22      mailing, basically the project from soup to



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   1     nuts.

   2              Q.         Would you consider data

   3     processing to be your strong suit?

   4              A.         Yes.

   5              Q.         And why is that?

   6              A.         I've been admitted to testify

   7     as an expert witness in data analytics 5

   8     times over the last 20 years in various

   9     disputed elections.              I've been working with

 10      voter data for longer than most people have.

 11      I know it well.           And I'm -- I've testified in

 12      court over residency issues and redistricting

 13      errors and things like that.

 14               Q.         And what happens if a client or

 15      you try to perform a project without good

 16      data processing?

 17               A.         I'm not sure I understand the

 18      question.

 19               Q.         Sure.

 20                          MR. SHELLY:           Henry, can you

 21               pull up Exhibit L.

 22                          (Davis Exhibit L,



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                                                                            Page 20
   1              Printout of Data Productions'

   2              website, No Bates, was marked

   3              for identification, as of this

   4              date.)

   5     BY MR. SHELLY:

   6              Q.         Mr. Davis, do you recognize

   7     this?     This is the website for Data

   8     Productions.

   9              A.         It appears to be.

 10                          MR. SHELLY:           Can you scroll

 11               down to page 2, Henry?

 12      BY MR. SHELLY:

 13               Q.         That paragraph right there, in

 14      the middle, "Why Data Processing?"                          The

 15      website says, "Data processing is the dull

 16      older cousin to big data.                   But without good

 17      data processing," it says, "big data is just,

 18      well, a big mess."

 19                          Do you agree with that?

 20               A.         To a certain extent, that's

 21      fluff that my web developer put in there.

 22      But, in general, I would say that I agree



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                                                                                     Page 21
   1     that data processing is very important.

   2              Q.         Fair to say that the quality of

   3     processing affects of validity of the

   4     conclusions that can be drawn from the data?

   5              A.         Yes.

   6                         MR. SHELLY:           Thank you.              Henry,

   7              you can take that one down.

   8     BY MR. SHELLY:

   9              Q.         Mr. Davis, you mentioned that

 10      you perform National Change of Address

 11      processing as part of your data processing

 12      services.       Is that right?

 13               A.         Yes.

 14               Q.         And roughly how many times a

 15      year would you say you perform NCOA

 16      processing?

 17               A.         I don't know the answer to that

 18      question off the top of my head, but it's

 19      often.      It's regular.            I would say I probably

 20      will process 50, 60 million records this

 21      year.

 22               Q.         And when you say "process those



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                                                                                  Page 22
   1     records," can you describe a little bit about

   2     what that process is?

   3              A.         I license software that allows

   4     me to run CASS certification as well as

   5     National Change of Address processing.                            And

   6     I own -- I buy an annual subscription that

   7     allows me to run up to a hundred million

   8     records a year.

   9              Q.         And so am I to understand that

 10      you're matching the NCOA list against some

 11      other file?

 12               A.         That's not quite the way it

 13      works.      That's a bit of an

 14      oversimplification.

 15                          The way it works is the

 16      software -- it refers to the needed fields

 17      that are in a particular database --

 18      transmits that data to an NCOA compiler

 19      that's got a special license from the Postal

 20      Service to provide those services.

 21                          They actually do the matching

 22      according to very strict USPS compliance



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   1     rules.        And then the information comes back

   2     to me, and it's merged back into the original

   3     database.

   4              Q.         Okay.       And is there one firm,

   5     it sounds like, who performs the actual match

   6     that you use?

   7              A.         In my particular case, it's

   8     BCC.     But there are a number of them.

   9              Q.         Okay.       And where did you learn

 10      to do the part of this process that you do?

 11               A.         I forget what year it was, but

 12      at some point, the Postal Service mandated

 13      compliance with move update requirements for

 14      First-Class Mail.              Years later, they also

 15      required compliance with move update

 16      requirements for Presorted Standard or what

 17      we commonly refer to as "bulk mail."

 18                          So I don't remember exactly

 19      what years those were, but it was quite a few

 20      ago.

 21               Q.         And does the NCOA processing

 22      ever produce a false match, where there's --



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                                                                            Page 24
   1     two names that are linked are actually

   2     different individuals?

   3              A.         I suppose it's possible.

   4                         In general, I don't recall

   5     specific instances of that.                    The Postal

   6     Service, itself, goes to -- goes into several

   7     verification steps to verify NCOA change of

   8     address records.

   9                         So I personally haven't

 10      experienced an instance of that that I

 11      recall.

 12               Q.         Do you take any affirmative

 13      steps to prevent that, or am I correct to

 14      understand that you're relying on the NCOA

 15      list or perhaps BCC to catch any of those

 16      duplicates?

 17               A.         Again, I haven't seen instances

 18      of that.       A person can file an individual

 19      change of address or they can file a family

 20      change of address.             And if they file a family

 21      change of address, then the people sharing

 22      that surname at that address will all have



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                                                                            Page 25
   1     their mail forwarded.

   2                         But if a husband and wife

   3     divorce or -- so something like that happens,

   4     or a child leaves home, then they would

   5     normally file an individual change of

   6     address, and only their mail will be

   7     forwarded, as opposed to the entire family's.

   8              Q.         Okay.      Is there any way to tell

   9     from the NCOA list whether an individual has

 10      moved temporarily or permanently?

 11               A.         According to the Postal

 12      Service, if a person files a temporary change

 13      of address -- say they want to spend the

 14      summer at the beach -- then their mail will

 15      be forwarded, but the Postal Service is not

 16      going to turn around and send the people who

 17      are sending that mail data that indicates

 18      they need to update their mailing list

 19      address for that person.

 20                          Now, if a temporary relocation

 21      is for over a year, then what people will

 22      typically do is file a permanent change of



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                                                                            Page 26
   1     address when they leave and another permanent

   2     change of address when they come back.

   3              Q.         So am I understanding that when

   4     an individual files their NCOA request, their

   5     mail to be forwarded, there's an option for

   6     them to list how long they want the mail to

   7     be forwarded?          Or is there an option to just

   8     have it indefinitely forwarded?                       Is that

   9     right?

 10               A.         Well, they have the option of

 11      filing a temporary change of address or they

 12      can file a permanent change of address.

 13               Q.         Okay.      But if they file the

 14      permanent change of address, it's still

 15      possible that it could only be a temporary

 16      move.     Is that right?

 17               A.         Well, since you can only file a

 18      temporary change of address for up to a

 19      year -- if you're a student going away to

 20      college or a soldier going away for tour of

 21      duty -- most of the time those folks will

 22      file a permanent change of address when they



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                                                                            Page 27
   1     leave and another permanent change of address

   2     when they come back.

   3              Q.         Got it.

   4                         Have you ever matched the NCOA

   5     list to a voter registration file?

   6              A.         Often.

   7              Q.         When have you done so?

   8              A.         The enhanced version of the

   9     motor voter database that I build, I've been

 10      running NCOA processing on that data for in

 11      excess of 20 years, I believe.

 12                          It's -- again, it's required by

 13      the Postal Service when we do mailings for

 14      campaigns or organizations, that kind of

 15      thing.

 16               Q.         Okay.      And did you perform this

 17      matching for the 2020 election?

 18               A.         Yes.

 19               Q.         Just once or how many times?

 20               A.         Off the top of my head, I don't

 21      recall how many times I did it for 2020.

 22               Q.         More than once?



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                                                                               Page 28
   1              A.         At least once.

   2              Q.         Is part of the potential

   3     confusion that you also ran it for the Senate

   4     elections in January, which was around the

   5     same time?        Or just that you do it so often

   6     that you're not sure how many times?

   7              A.         Well, I know I ran NCOA

   8     processing when I built the file that

   9     candidates were using.                 I also ran NCOA on

 10      the voter database in November.                       I believe it

 11      was -- I don't remember the exact date, but

 12      it was in November.

 13               Q.         After the election?

 14               A.         After the election.

 15               Q.         Am I understanding correctly,

 16      you don't recall running it before the

 17      November election?             Or is it possible --

 18               A.         I would need to look.                   It's

 19      something that I do regularly, but I don't

 20      want to give an unclear answer, so I'll just

 21      say I did it at least once in 2020.

 22               Q.         Okay.      Did you publish your



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                                                                            Page 29
   1     results?

   2              A.         I have given numbers from my

   3     results, but I have not published the data

   4     from that analysis.

   5              Q.         Has there been any other

   6     independent verification of the numbers that

   7     you produced?

   8              A.         I need to take a minute, if I

   9     could, and confer with my attorney.

 10                          MS. SIEBERT:            Mr. Davis, just

 11               go ahead and try to answer this.

 12               You're in the middle of a question, so

 13               we're not going to confer now.

 14                          THE DEPONENT:             Okay.

 15               A.         I did have -- well, myself and

 16      Derek Somerville did have another firm run

 17      NCOA processing on the data.                     Unfortunately,

 18      they ran a different type.

 19                          There's two types of NCOA

 20      processes:        one is able to look back 48

 21      months and one is able to look back

 22      18 months.



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                                                                            Page 30
   1                         So the two, even though the

   2     results were similar, they didn't match up

   3     exactly because the company that we had do a

   4     double-check didn't run the same kind of NCOA

   5     and didn't run it in the same time frame.

   6                         National Change of Address

   7     processing, whether you use the 18-month

   8     window or the 48-month window, is a moving

   9     window.       So if I run National Change of

 10      Address processing in November and it's

 11      repeated a month or two later and especially

 12      if it's only an 18-month window, the results

 13      will naturally be different.

 14      BY MR. SHELLY:

 15               Q.         Am I understanding you

 16      correctly that you used the 48-month?

 17               A.         Yes.

 18               Q.         And you checked this against

 19      another group or person who's doing this that

 20      used that 18-month?

 21               A.         Correct.

 22               Q.         And who is this other person or



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                                                                            Page 31
   1     group?

   2              A.         It's a company called SureBill.

   3              Q.         And did you get -- you gave

   4     your results to them, or I think you may have

   5     said Derek Somerville did.

   6              A.         I gave them a copy of the voter

   7     data and had them independently run NCOA on

   8     it to see if they achieved similar results.

   9     But since they run a different kind of NCOA,

 10      that evaluation was not useful.

 11               Q.         Okay.

 12                          MS. SIEBERT:            Mr. Shelly,

 13               I understand you're gathering some

 14               professional background on Mr. Davis,

 15               and that's fine, but, you know, a lot

 16               of specific questions about this, you

 17               know, the NCAO [sic] data runs he may

 18               or may not do in his professional

 19               capacity are outside of the scope of

 20               this lawsuit and would be irrelevant.

 21                          So I'm just going to object to

 22               a lot of further questioning on that



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                                                                                   Page 32
   1              outside of, you know, professional

   2              background.

   3                         MR. SHELLY:           Okay.       I do have

   4              some more questions on that, but

   5              I appreciate the objection.

   6     BY MR. SHELLY:

   7              Q.         Mr. Davis, were you ever paid

   8     for any of this analysis that you performed

   9     for the NCOA matching?

 10               A.         That's a broad question.

 11               Q.         Sorry.       For the November,

 12      specifically, matching that you recall.

 13               A.         No.

 14               Q.         And can you tell me a little

 15      bit about why you performed that matching?

 16                          MS. SIEBERT:            Objection.            This

 17               is irrelevant to the subject matter of

 18               the case.        It has nothing to do with

 19               the November election.

 20                          Mark, I'm going to go ahead and

 21               instruct you to answer this.                       But,

 22               again, we're nearing the end.



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                                                                            Page 33
   1              A.         I have been seeing residency

   2     issues with the Georgia Voter Database for

   3     many, many years.             I've seen them just show

   4     up in the voter data that I've worked on for

   5     various reasons.            They are especially

   6     apparent following redistricting and

   7     reapportionment.

   8                         And when I have seen them in

   9     the past, especially in some of the cases

 10      I've testified in as an expert witness over

 11      the years, it became obvious to me that we

 12      have major issues here in Georgia with

 13      residency.        And in the past few cases where

 14      I have seen them, I became curious about what

 15      I would see if I performed the kind of

 16      analysis I normally do as an expert witness

 17      statewide.

 18                          And so out of curiosity, in

 19      November, I ran NCOA processing to ascertain

 20      the extent of the issues statewide.

 21      BY MR. SHELLY:

 22               Q.         Okay.      After you completed that



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                                                                                 Page 34
   1     matching, who did you talk to about what you

   2     had found?

   3                         MS. SIEBERT:            Again, I'm

   4              objecting.         This has nothing -- the

   5              November analysis has nothing to do

   6              with this lawsuit.               It's beyond the

   7              scope.

   8                         Go ahead and answer this

   9              question, Mark.

 10               A.         I testified before the Senate

 11      Government Oversight Committee.                       I've talked

 12      to members of the media.                  I've talked to

 13      activists.        I've talked to friends.                    I could

 14      not possibly give you a good answer to that

 15      question.

 16      BY MR. SHELLY:

 17               Q.         Okay.

 18                          Are you familiar with True the

 19      Vote?

 20               A.         I am.

 21               Q.         And how did you find out about

 22      True the Vote?



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                                                                                  Page 35
   1              A.         I became aware of them years

   2     ago, I believe, through media reports.

   3              Q.         Have you ever worked with

   4     anyone affiliated with True the Vote?

   5              A.         I know them.            I've not formally

   6     worked with them, no.

   7              Q.         And did you communicate with

   8     Catherine Engelbrecht last year about

   9     perceived voting irregularities in Georgia?

 10               A.         I did.

 11               Q.         And when did you do that?

 12               A.         Gregg Phillips and I and Derek

 13      Somerville had a phone call about what I was

 14      seeing in Georgia.             And I believe at some

 15      point, Catherine and I had a phone call.

 16      I just don't remember when it was.                          But I did

 17      make them aware of the issues that I was

 18      seeing.

 19               Q.         Did you describe the -- can you

 20      tell a little bit more about what you

 21      described for them?

 22               A.         Well, it's clear to me that



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                                                                            Page 36
   1     Georgia voters are not updating their voter

   2     registration information as they should be,

   3     and they're not updating their driver's

   4     licenses as they should be.

   5                         Georgia law requires you to

   6     update your driver's license within 60 days

   7     when you move.          And according to the

   8     Secretary of State's office, approximately

   9     97 percent of Georgia voters hold driver's

 10      licenses.

 11                          And since we're on the Motor

 12      Voter system, if you comply with the state

 13      law requiring you to update your driver's

 14      license within 60 days, it would

 15      automatically trigger an update to your voter

 16      registration.

 17                          And you can do either online.

 18      You can update your driver's license or you

 19      can update your registration.                      And large

 20      numbers of Georgia voters aren't doing that

 21      in a timely manner.

 22               Q.         Did you describe the NCOA



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                                                                            Page 37
   1     matching that you had performed?

   2              A.         Yes.

   3              Q.         And what was the response when

   4     you shared what you had found?

   5              A.         It showed that there were

   6     approximately 110,000 Georgia voters who had

   7     moved from one county to another more than

   8     the 30-day grace period before the election.

   9     And it appeared that they had not updated

 10      their registration to their new county.

 11                          And the data also indicated

 12      that thousands of them appeared to have

 13      returned to their old residence or old county

 14      of residence to cast ballots, which state law

 15      does not permit outside the grace period.

 16               Q.         Did you discuss the idea of

 17      challenging some of these Georgia voters who

 18      were suspected of having changed their

 19      address?

 20               A.         I did tell her that I was

 21      considering the idea.

 22               Q.         Did you raise that idea in the



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                                                                            Page 38
   1     first instance?

   2              A.         I told her that I thought that

   3     if we had these kinds of residency issues in

   4     the general, then it was entirely possible

   5     we'd have the same issues in the runoff.

   6              Q.         And what was her response?

   7              A.         I don't recall her exact

   8     response.

   9              Q.         But she reacted positively to

 10      it, that this was something that she would

 11      consider?

 12               A.         I don't recall her reaction,

 13      other than she was glad to be aware of the

 14      information.

 15                          We didn't know each other well

 16      at the time, and -- I mean, she really didn't

 17      know me from Adam, so I really couldn't

 18      characterize her response to it.                        I guess

 19      that would be a question for her.

 20               Q.         Did she ask for your

 21      assistance?

 22               A.         During the phone call with



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                                                                                 Page 39
   1     Gregg Phillips, I was invited to consider

   2     taking some sort of role here in Georgia with

   3     True the Vote.          And I declined that

   4     invitation because I just don't have the

   5     bandwidth for it.

   6              Q.         What was -- what were you being

   7     asked to do that you didn't have time for?

   8              A.         There was nothing specific.

   9     There -- he did mention the possibility -- he

 10      mentioned they were seeking to build a team

 11      in Georgia and asked if I would consider

 12      becoming involved potentially in some sort of

 13      a leadership role.             And I declined.               I don't

 14      have the time.

 15               Q.         Okay.      It does seem to me that

 16      the analysis that you ran was relevant to the

 17      challenges that are at the heart of this

 18      suit, so I would like to ask you a few more

 19      questions about those.

 20                          You mentioned that your NCOA

 21      list covered a 48-month period.                       I'm looking

 22      for what window that would cover.



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                                                                            Page 40
   1                         MS. SIEBERT:            Again,

   2              Mr. Shelly, I'm going to object.

   3                         Mr. Davis has testified that he

   4              ran NCOA data last year related to his

   5              business related to the

   6              November election.               He has not

   7              testified that he ran any data

   8              analysis in conjunction with True the

   9              Vote or specific to the January runoff

 10               election, which is the scope of this

 11               lawsuit.       And so this questioning is

 12               beyond the scope and is irrelevant.

 13                          Mark, I'm going to instruct you

 14               not to answer this.

 15                          MR. SHELLY:           Okay.       My

 16               understanding of what Mr. Davis shared

 17               was that he ran this analysis and

 18               shared it with Catherine Engelbrecht

 19               and Derek Somerville, who I believe

 20               are both defendants in this lawsuit;

 21               and that his analysis was influential

 22               in resulting in the challenges that



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   1              we're suing over.

   2                         So I think understanding the

   3              basis of his analysis will help us

   4              better understand the challenge

   5              program, while I do appreciate the

   6              distinction, that his analysis did not

   7              actually -- we have not yet

   8              established that they used his data in

   9              the challenges.

 10                          MS. SIEBERT:            If you would

 11               permit me.

 12                          Mark, can you please clarify:

 13               Did you share your actual data

 14               analysis with Catherine and Gregg?

 15                          THE DEPONENT:             I did not share

 16               any of my data with Catherine or

 17               Gregg.      We talked in generalities

 18               about issues that are very known to

 19               them.

 20                          True the Vote has been aware

 21               for many, many, many years that every

 22               Secretary of State in the nation faces



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                                                                                     Page 42
   1              issues with the cleanliness of their

   2              voter rolls largely due to provisions

   3              of the 1993 National Voter

   4              Registration Act.

   5                         I was not telling either of

   6              them anything they didn't already know

   7              about the problem, in general.                           I just

   8              simply told them what I was seeing in

   9              Georgia.       Neither of them was

 10               surprised to hear it.

 11                          MS. SIEBERT:            Okay.

 12                          THE DEPONENT:             But I did no

 13               data processing for True the Vote at

 14               all, and I did no data processing of

 15               this nature for the runoff for True

 16               the Vote.

 17                          MS. SIEBERT:            So, Mr. Shelly,

 18               I understand from Mr. Davis's

 19               testimony just now that he did not

 20               perform any data analysis and did not

 21               share any specific data analysis with

 22               True the Vote.



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   1                         So my objection stands.

   2                         MR. SHELLY:           Okay.       Well, how

   3              about I get through a few more

   4              questions on a different subject, and

   5              then depending on the one -- where

   6              those lead, we can perhaps revisit

   7              this in a bit.

   8                         MS. SIEBERT:            That sounds good.

   9     BY MR. SHELLY:

 10               Q.         Mr. Davis, you mentioned at

 11      this initial meeting with Ms. Engelbrecht --

 12      well, let me first ask:                 Was that your only

 13      conversations with Ms. Engelbrecht, the

 14      initial discussion that you mentioned with

 15      Gregg Phillips and Derek Somerville?

 16               A.         That was my initial

 17      conversation with anyone with True the Vote.

 18                          As far as subsequent

 19      conversations with Catherine, I don't recall

 20      any in specifics.             I do recall participating

 21      in a Zoom call, or maybe two, that were

 22      general, you know, "everyone's invited" kind



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   1     of broadcast.          And I tuned in to just keep

   2     current with what they were doing.

   3                         But I don't recall other

   4     specific conversations.                 We may have talked

   5     on other occasions.              There was so much

   6     activity in November, I just don't recall

   7     specifics.

   8              Q.         When you say you participated

   9     in these conversations where everyone was

 10      invited, were those open to the public?                           Or

 11      what did you mean by that?

 12               A.         I believe they were open to

 13      basically anyone on True the Vote's list.

 14      They may have been open to the public, for

 15      all I recall.

 16                          But it was not a two-way

 17      conversation.          I didn't speak in those

 18      meetings.       I just tuned in to see what they

 19      were up to.

 20               Q.         Do you know why you were

 21      invited or how you ended up on those calls?

 22               A.         I don't.



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                                                                                     Page 45
   1              Q.         You mentioned Derek Somerville

   2     in this call.

   3                         How do you know him?

   4              A.         I met Derek, I believe, in

   5     November.       He expressed similar interests

   6     about the quality of the voter file.                              And we

   7     continued to kind of work collaboratively on

   8     it.

   9                         He's a former investigator -- a

 10      former special agent with the FBI, and

 11      I thought it would be useful to have him dig

 12      into some specifics -- specific sort of

 13      random samples from the data to see if he

 14      could sort of independently verify whether or

 15      not there was additional evidence or

 16      corroborating evidence on these changes of

 17      address that he could find.                    And he spent

 18      quite a bit of time doing that.

 19               Q.         Did you reach out to him in the

 20      first instance?

 21               A.         No.     We met on a conference

 22      call -- I can't remember which conference



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   1     call -- but we established a relationship

   2     after that and began to work collaboratively.

   3              Q.         Did you discuss challenging

   4     voters with him?

   5              A.         We did discuss the possibility

   6     of doing it not affiliated with True the

   7     Vote.

   8              Q.         And was that before or after

   9     the call with Ms. Engelbrecht that you

 10      mentioned?

 11               A.         I don't recall.

 12               Q.         Okay.      Did he ask for your

 13      assistance challenging any Georgia voters?

 14               A.         Well, we did discuss creating

 15      our own challenges, but not True the Vote's

 16      challenges.

 17               Q.         And did you pursue that?

 18                          MS. SIEBERT:            I'm going to

 19               object to this question.                    Again,

 20               beyond the scope.

 21                          This lawsuit is about the

 22               challenges that were, quote, in



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                                                                              Page 47
   1              concert with True the Vote.                      So this

   2              is beyond the scope of this lawsuit.

   3                         Mark, you can go ahead and

   4              answer.

   5              A.         I did do data processing for

   6     other people to file challenges, not in

   7     coordination with True the Vote, not

   8     affiliated with True the Vote.                       A totally

   9     different perspective than True the Vote.

 10                          I'll stop there.

 11      BY MR. SHELLY:

 12               Q.         Okay.      And who were these other

 13      groups?

 14               A.         Excuse me?

 15               Q.         What other group were you

 16      providing -- were you assisting with voter

 17      challenges?

 18               A.         No group in particular.

 19               Q.         Are there other individuals?

 20               A.         They were created to permit

 21      other interested individuals to file them if

 22      they wished to file them.



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                                                                            Page 48
   1              Q.         And how did you provide your

   2     analysis to these other individuals?

   3                         MS. SIEBERT:            Again, I'm going

   4              to object that this is beyond the

   5              scope of the litigation.                    And same

   6              objections as before.

   7                         Mark, you can go ahead and

   8              answer.

   9              A.         I generated files for each

 10      county and put them -- made them available on

 11      the internet for interested parties who

 12      wanted to file them to download them.

 13      BY MR. SHELLY:

 14               Q.         And was that accessible to the

 15      public?

 16               A.         No.     It was only accessible to

 17      people that we provided access to.

 18               Q.         And, just ballpark, how many

 19      people had access to this?

 20                          MS. SIEBERT:            Same objection.

 21                          Mark, go ahead and answer this.

 22               But, again, I'm going to shut down



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                                                                                  Page 49
   1              this line of questioning pretty soon.

   2              Beyond the scope.

   3              A.         I don't know the answer to that

   4     question.       In fact, I don't know who

   5     specifically filed what where or anything

   6     like that.

   7                         I did do the data processing.

   8     I did create the data to do challenges, but

   9     I did not organize them or recruit people to

 10      file them or anything of that nature.

 11      BY MR. SHELLY:

 12               Q.         You mentioned Gregg Phillips

 13      was on this initial call with

 14      Ms. Engelbrecht.

 15                          How did you meet Mr. Phillips?

 16               A.         I actually did not say that.

 17      I said that I had a conference call with him

 18      and Derek.

 19                          I believe that Catherine and

 20      Gregg had taken Derek out to dinner one day

 21      previous to that and wanted to meet me.                           And

 22      Catherine was not available for the call, but



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                                                                             Page 50
   1     Gregg was, so if I recall correctly, it was

   2     just me and Derek and Gregg Phillips on that

   3     call.

   4              Q.         And what did you discuss on

   5     this call?

   6              A.         We compared our backgrounds in

   7     data processing and data analytics and

   8     working with voter data.

   9                         He, I believe, comes from

 10      Texas, and I'm from Georgia.                     We talked about

 11      how different states store data differently.

 12                          And I just basically kind of

 13      gave him a little bit of a primer on data

 14      that's available from the state, where to get

 15      it, what it looks like, what's in it, those

 16      kinds of things.

 17                          They were looking to do their

 18      own analysis of the Georgia Voter Database,

 19      and I just basically gave them some

 20      information about, you know, how to get

 21      started.

 22               Q.         Did you recommend -- if I



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                                                                                Page 51
   1     remember the acronym -- BCC to perform the

   2     actual processing?

   3              A.         No.     I left it up to them,

   4     which provider they wanted to use.                          There's

   5     several dozen of them.

   6              Q.         And did you have any more

   7     conversations with Mr. Phillips after this

   8     one?

   9              A.         Not that I recall.

 10               Q.         How about:          Did you communicate

 11      with Mr. Mark Williams last year about

 12      perceived voting irregularities in Georgia?

 13               A.         Not that I recall.                But Mark

 14      and I are old friends, and we've talked about

 15      those kinds of issues over the years a number

 16      of times.       But I don't recall a specific

 17      discussion with him last year about it.

 18               Q.         Do you recall any discussions

 19      specifically about challenging Georgia voters

 20      who were suspected of having changed their

 21      address?

 22               A.         Not that I recall.



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                                                                              Page 52
   1              Q.         Did you communicate with a

   2     Mr. Ron Johnson last year about perceived

   3     voting irregularities in Georgia?

   4              A.         Not that I recall.

   5              Q.         And how about:             Did you

   6     communicate with James Cooper last year about

   7     perceived voting irregularities in Georgia?

   8              A.         Not that I recall.                However, we

   9     do business on occasion.                  I suppose it's

 10      possible it could have come up in one of

 11      those conversations, but I don't recall a

 12      specific discussion about that subject.

 13               Q.         Did you sit for a

 14      video-recorded interview with Mike Crane last

 15      November, after the general election?

 16               A.         I did.

 17               Q.         In this video, you say some

 18      friends of yours have investigated voters who

 19      showed up on your NCOA match and found those

 20      voters to be registered in other states.

 21                          Which friends were you

 22      referring to?



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                                                                            Page 53
   1              A.         I don't recall specifically,

   2     but I have heard reports of people looking up

   3     folks on other My Voter pages in other states

   4     and finding them registered in other states

   5     there.

   6              Q.         Do you know how exactly they

   7     performed that investigation?

   8              A.         I can only assume they went to

   9     that state's My Voter page and looked up a

 10      particular voter.

 11               Q.         Do you know how many voters

 12      they investigated?

 13               A.         I don't even recall

 14      specifically who I was referring to, so

 15      I couldn't speculate.

 16               Q.         In the interview, you also say

 17      that you "talked to some key people" about

 18      the NCOA matching you have been doing.

 19                          Who were those key people?

 20                          MS. SIEBERT:            Objection.

 21               Again, beyond the scope.

 22                          Mark, go ahead and answer to



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                                                                                  Page 54
   1              the best --

   2     BY MR. SHELLY:

   3              Q.         You may answer.

   4              A.         Well, as I said before, I'm an

   5     advocate for election integrity and have been

   6     for 20 years.

   7                         I've been talking to key people

   8     about these issues for a very long time.

   9     Going back to when Cathy Cox was Secretary of

 10      State, I went in and met with her and the

 11      Elections Division, the Secretary of State's

 12      office, the Voter Fraud Unit at the Burris

 13      Institute, the Georgia Technological

 14      Authority, and others, and made them aware of

 15      these issues.

 16                          Over the years, I've had

 17      numerous legislators and candidates and so

 18      on, so forth, that I've worked for.                          I've

 19      bent their ear about these issues.                          I've been

 20      talking about these issues for a very long

 21      time with a very large number of people.

 22               Q.         Other than what we have already



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                                                                            Page 55
   1     discussed, within the past year, have you

   2     ever shared information, analysis, or ideas

   3     with anyone you know to be affiliated with

   4     True the Vote?

   5              A.         State the question again.

   6              Q.         Within the past year, have you

   7     ever shared information, analysis, or ideas

   8     with anyone you know to be affiliated with

   9     True the Vote?

 10               A.         That's an extremely broad

 11      question.       But, as I said earlier, I did talk

 12      with them about some of the NCOA results and

 13      residency issues that I was seeing in the

 14      data.

 15                          As far as whether or not anyone

 16      else I know or may have discussed these

 17      issues with was associated with True the Vote

 18      in some way, I don't really know that in

 19      particular.

 20                          True the Vote has a lot of

 21      supporters in Georgia, and I know a lot of

 22      people, so I really don't know how to answer



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                                                                            Page 56
   1     that question.          It's so broad.

   2              Q.         When did you find out that

   3     people were considering challenging voters in

   4     Georgia last year?

   5              A.         There were people talking about

   6     that even before the general election, much

   7     less the runoff.

   8                         A lot of people in Georgia have

   9     become aware that we have major residency

 10      issues on our voter file.                   And a lot of

 11      people have been very concerned about it for

 12      a lot of years.           So I'm not sure how to

 13      answer that question either.

 14               Q.         Are you aware of any challenges

 15      that were filed before the November election?

 16                          MS. SIEBERT:            Again, objection.

 17               That's beyond the scope.                    This has

 18               nothing to do with the November

 19               election.

 20                          Mark, we've gone down this

 21               line.      Don't answer that question.

 22                          MR. SHELLY:           I think it's



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   1              appropriate to make the objection.

   2              But "outside the scope" I don't

   3              believe is a basis to keep the witness

   4              from answering the question.

   5                         MS. SIEBERT:             I think it is,

   6              simply because you've gone down this

   7              line so much.            It's been asked and

   8              answered.         He's talked about this a

   9              lot.     We've discussed that this

 10               lawsuit has nothing to do with the

 11               November election.

 12                          MR. SHELLY:            This is all within

 13               the span of six weeks to two months,

 14               and so I think that the challenge

 15               programs that were happening during

 16               this time are related to each other,

 17               especially if it's the same people

 18               participating in them.

 19                          So I do have a number of

 20               questions about this.                  And, again,

 21               we are free to note your objection,

 22               but unless it's privileged in some



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                                                                                    Page 58
   1              way, I would hope that Mr. Davis would

   2              answer.

   3                         MS. SIEBERT:            All right.            Mark,

   4              go ahead.

   5              A.         I'm not aware of residency

   6     challenges that were filed before the

   7     general, but it wouldn't surprise me to learn

   8     that there were.            There weren't any that I

   9     was involved with.

 10      BY MR. SHELLY:

 11               Q.         Do I understand correctly that

 12      filing these challenges were your idea in the

 13      first instance?           Or did someone else first

 14      provide that idea?

 15               A.         It certainly was not my

 16      original idea.          That's been a topic that's

 17      been discussed for quite some time.

 18                          There have been previous

 19      challenges in previous elections filed on

 20      residency issues, as far as I'm aware.                            It's

 21      not a new idea by any stretch.

 22               Q.         Did you support these



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                                                                            Page 59
   1     challenges -- I'll make this one specific to

   2     the post-November challenges that True the

   3     Vote filed.         Did you support those

   4     challenges?

   5              A.         In general, I support any

   6     effort to clean up the voter rolls and ensure

   7     people don't vote with residency issues

   8     because they're casting ballots for people

   9     that don't represent them.

 10                          So to that extent, I would

 11      support efforts to prevent people from

 12      casting illegal ballots.

 13               Q.         And what did you hope the

 14      impact of these challenges would be on the

 15      voters?

 16               A.         I hoped that the counties that

 17      accepted challenges would simply give them

 18      additional scrutiny to make sure that they

 19      retained the eligibility to vote in a

 20      particular election.

 21                          In other words, under Georgia

 22      law, if they move from one county to another



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                                                                            Page 60
   1     more than 30 days before the election, and

   2     that is a permanent change of address, then

   3     they lose their residency in their previous

   4     county.       And they must be registered in their

   5     new county in order to vote lawfully in that

   6     county.

   7                         Under Georgia law, outside that

   8     30-day grace period, we're only permitted to

   9     vote in the county we actually live in.

 10               Q.         Have you ever filed a voter

 11      challenge?

 12               A.         No.

 13               Q.         Why not?

 14               A.         I've never felt the need to.

 15               Q.         But you supported the

 16      challenges that True the Vote filed?

 17               A.         I took exception with some of

 18      their logic.         It's not the way I would have

 19      done it, but I had no input into the criteria

 20      used for their challenges or the data

 21      processing they did for their challenges or

 22      any of that kind of stuff.



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                                                                            Page 61
   1                         You know, that was their

   2     project; it was not mine.                   And I did not

   3     participate in it.

   4              Q.         What would you have done

   5     differently than what they did?

   6              A.         I probably would have narrowed

   7     the scope.        But other than that, from what

   8     I understand about what they did, they

   9     identified people they believed to have

 10      potential residency issues and wanted the

 11      registrars to give them increased scrutiny

 12      just to make sure that they did retain the

 13      eligibility to vote in a particular election.

 14                          So in -- as far as that's

 15      concerned, I'm all in favor of preserving the

 16      integrity of the vote and making sure that

 17      people who are properly qualified are able to

 18      vote and vote lawfully.

 19               Q.         And what do you mean when you

 20      say that you wished they had reduced the

 21      scope?

 22               A.         They did a larger challenge



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                                                                            Page 62
   1     than I thought was best.                  I would have

   2     limited the scope to people that had voted in

   3     the general election because, for example,

   4     you know, there are over a quarter million

   5     people who moved out of Georgia.                        And

   6     I wouldn't have expected very many of them to

   7     cast ballots here.             Thousands of them did.

   8                         But, at the same time, if they

   9     don't live here anymore, then they shouldn't

 10      be voting here.           So it's not that I really

 11      object to their criteria, but I probably

 12      personally wouldn't have done it that way.

 13               Q.         And you say you worked with

 14      people who had a different perspective than

 15      True the Vote.

 16                          Was that perspective -- are you

 17      referring to the scope or were there other

 18      areas where their perspectives differed?

 19               A.         I don't -- it wasn't my

 20      intention to put it quite the way you just

 21      did.

 22                          From what I have since learned



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                                                                            Page 63
   1     about their challenge, I would have done it

   2     differently.         I didn't have any input into

   3     their challenge or the logic behind it or

   4     their data processing criteria or the way

   5     they did it.         That was all up to them.

   6              Q.         Is there anything else you

   7     would have done differently besides narrowing

   8     it to people who had voted in the

   9     November election?

 10               A.         Not that I can think of off the

 11      top of my head.

 12               Q.         Did you ever urge anyone to

 13      participate in the challenge process?

 14               A.         I did have a Facebook post

 15      where I encouraged people -- where

 16      I basically reposted a post from Derek

 17      looking for volunteers.                 Other than that,

 18      I don't recall urging any specific person.

 19               Q.         Did you ever talk with anybody

 20      about the methodology for developing a

 21      challenge list?

 22               A.         I did talk with people about



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   1     the methodology that I used in my own, but

   2     not True the Vote's, that I recall.

   3                         Well, in thinking about that,

   4     it's entirely possible I did discuss the

   5     differences between the two with people.

   6     I just don't recall specifics of who and when

   7     and all that kind of stuff.

   8              Q.         When you say "the differences

   9     between the two," are you referring to the

 10      difference between yours and SureBill's?

 11               A.         No.

 12               Q.         Between yours and True the

 13      Vote's?

 14               A.         Yes.

 15               Q.         And did you discuss those

 16      differences with True the Vote?

 17               A.         I don't recall.              Like I said,

 18      I didn't have input or really attempt to have

 19      input that I recall into what they were

 20      doing.      That was their business.                    I didn't

 21      try to tell them what to do.

 22                          I may have told them what



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   1     I intended to do, but I don't recall telling

   2     them what they should do.                   That's up to them.

   3              Q.         And did anyone affiliated with

   4     True the Vote tell you more about the process

   5     that they used to develop their challenge

   6     lists?

   7              A.         There may have been some

   8     discussion in one of the Zoom calls that was

   9     broadcast.        I don't remember specifics from

 10      those calls.         It's possible, but I don't

 11      recall specifics.

 12               Q.         Was there anything about the

 13      methodology that they used that you thought

 14      you would do differently?

 15               A.         As I said earlier, I probably

 16      would have limited the scope to people who

 17      voted in the general because a lot of the

 18      people that voted in the general did so with

 19      potential residency issues that should be

 20      investigated.          And I thought that limiting

 21      that scope to that group would have been

 22      stronger.



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                                                                            Page 66
   1              Q.         Are you aware that the vast

   2     majority of True the Vote's challenges were

   3     rejected?

   4              A.         I am aware.

   5              Q.         Did that surprise you?

   6              A.         It did.

   7              Q.         And why is that?

   8              A.         From what I read in news

   9     reports, there were boards of registration

 10      who were calling it so-called list

 11      maintenance and claiming that it couldn't be

 12      done within 90 days of the election.

 13                          I didn't agree with that

 14      because they were not -229 challenges; they

 15      were under 21-2-230, which is an entirely

 16      different statute.

 17                          21-2-229 is a challenge to a

 18      person's registration, whereas 21-2-230 is a

 19      challenge to their qualifications to vote in

 20      a particular election.                 So to hear people

 21      call that "list maintenance" made no sense to

 22      me because no one was trying to get anyone



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                                                                                  Page 67
   1     removed from a voter roll.

   2              Q.         Given that the scope of these

   3     challenges was apparently so much broader

   4     than you would recommend, do you think it was

   5     fair to accept that number of those

   6     challenges would not have been accepted?

   7              A.         That's up to the individual

   8     county board of registration to assess.                           But

   9     in my view, if someone has a potential

 10      residency issue, then I think it's a valid

 11      concern to assess whether or not they possess

 12      the qualifications to vote in a particular

 13      election.

 14                          MR. SHELLY:           Okay.       We've been

 15               going for about an hour.                    How about we

 16               take a break and meet back up at

 17               10:15.

 18                          MS. SIEBERT:            That sounds

 19               great.

 20                          THE VIDEOGRAPHER:                The time is

 21               10:05 a.m.         Going off the record.

 22                          (Recess taken.)



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   1                         THE VIDEOGRAPHER:                The time is

   2              10:15 a.m.         Back on the record.

   3     BY MR. SHELLY:

   4              Q.         Mr. Davis, can you describe to

   5     me your understanding of what happens to a

   6     voter who has been challenged based on their

   7     residency?

   8              A.         There's a process that the

   9     county goes through to have a hearing to

 10      determine that voter's eligibility.

 11               Q.         Can you describe for me what

 12      steps the voter would need to take in

 13      response to a challenge?

 14               A.         I would need to go back and

 15      review the statute at the time.                       I wouldn't

 16      try to quote it off the top of my head.

 17               Q.         How did you learn about this

 18      process generally?

 19               A.         I don't even recall.                  It's

 20      been years.

 21               Q.         Are you familiar with Georgia's

 22      residency requirements for voting?



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                                                                              Page 69
   1              A.         I am.

   2              Q.         And how did you learn about

   3     those laws?

   4              A.         Sorry.       There's someone at my

   5     door.     Can I take just a moment?

   6              Q.         Sure.

   7                         (Pause.)

   8                         THE VIDEOGRAPHER:                Should we go

   9              off the record for this?

 10                          MR. SHELLY:           Yes, please.

 11                          THE VIDEOGRAPHER:                All right.

 12               The time is 10:17 a.m.                  Off the

 13               record.

 14                          (Recess taken.)

 15                          THE VIDEOGRAPHER:                The time is

 16               10:17 a.m.         Back on the record.

 17      BY MR. SHELLY:

 18               Q.         Mr. Davis, I think I was asking

 19      you how you learned about Georgia's residency

 20      requirements.

 21               A.         I've been aware of them for

 22      many years.         As I mentioned, I've testified



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                                                                            Page 70
   1     in election disputes 5 times over the last

   2     20 years.       I don't recall when I wasn't aware

   3     of them.

   4              Q.         And are you familiar with the

   5     National Voter Registration Act, also called

   6     the NVRA?

   7              A.         I am.

   8              Q.         Do you see any conflict from

   9     the administration of Georgia's residency

 10      laws and the NVRA?

 11               A.         It appears to me Georgia's in

 12      compliance with the NVRA.

 13                          MR. SHELLY:           Henry, can you

 14               pull up Exhibit D, as in dog.

 15                          (Davis Exhibit D, E-mail

 16               string, top e-mail to Catherine

 17               Engelbrecht from Derek Somerville,

 18               12/19/20, No Bates, was marked for

 19               identification, as of this

 20               date.)

 21      BY MR. SHELLY:

 22               Q.         I'll give you a second.



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                                                                              Page 71
   1                         Mr. Davis, do you recognize

   2     this document?

   3              A.         (Document[s] reviewed.)

   4                         I don't recall seeing this

   5     before.

   6              Q.         Okay.      Does it appear to be an

   7     e-mail from Derek Somerville to individuals

   8     who volunteered to submit voter challenges?

   9              A.         It looks like an e-mail between

 10      Derek and Catherine.

 11               Q.         Fair enough.

 12                          So this is a thread.                  I think

 13      the bottom e-mail is the one that starts,

 14      Good evening Patriots!"                 It looks to me like

 15      an e-mail from Derek Somerville to people who

 16      are receiving this e-mail because they

 17      volunteered to submit a Section 230 elector

 18      challenge in your county, the second line.

 19      And then, at the top, it looks like this was

 20      forwarded to Catherine Engelbrecht.

 21               A.         Okay.

 22                          MR. SHELLY:           So, Henry, if we



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                                                                               Page 72
   1              could go to the second page, That

   2              second paragraph to the bottom,

   3              starting with, "I've attached..."

   4     BY MR. SHELLY:

   5              Q.         I read it to say, "I've

   6     attached the 3 certifications from our

   7     National Change of Address process.                          These

   8     documents certified the date we processed the

   9     voter file and the specific details of that

 10      processing.         The Georgia Voter File is

 11      extremely large, so it was broken into 3

 12      parts and each part processed individually,

 13      thus the 3 separate certifications."

 14                          And then, "I would present

 15      these as evidence to your board that these

 16      lists were developed using the same standards

 17      as the state.          I am also including Mark

 18      Davis's affidavit, which is his sworn

 19      testimony that he personally processed these

 20      files."

 21                          Did I read that correctly?

 22               A.         Yes, you did.



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                                                                            Page 73
   1              Q.         Do you know what affidavit he's

   2     referring to?

   3              A.         I believe he's referring to an

   4     affidavit that I gave to the Senate

   5     Government Oversight Committee in advance of

   6     my testimony to them.

   7              Q.         Do you know how he obtained

   8     that affidavit?

   9              A.         I probably shared it with him.

 10      I shared it with a number of people.

 11                          Again, that testimony was about

 12      issues that we saw with the general -- the

 13      general election, not the -- not in

 14      particular to the runoff.                   I did not perform

 15      NCOA processing in particular for the runoff

 16      itself, but I had in a review of the general.

 17               Q.         Okay.      And so that last bit of

 18      highlighting, "these files," do you know what

 19      files he's referring to at the end?

 20               A.         When I process a file of any

 21      kind through National Change of Address

 22      processing, there is a processing



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                                                                            Page 74
   1     certification document that I can generate in

   2     pdf form that details the day it was

   3     processed, what the results of the processing

   4     show, et cetera.            It's just a standard

   5     certification.

   6              Q.         I understand that -- for the

   7     certification.          Then he says you personally

   8     processed these files.

   9                         Is that your understanding,

 10      that those files that you certified you

 11      processed were the NCOA matching --

 12               A.         Well, as he indicated there,

 13      the Georgia Voter File is extremely large.

 14      And in order to process it, there's a file

 15      size limitation of .14 gigabytes, or

 16      something approximating that.

 17                          And so when I processed the

 18      voter database, I typically will break it

 19      into three parts in order to do the

 20      processing.

 21               Q.         Okay.      And this processing was

 22      matching the NCOA to the voter registration



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                                                                                 Page 75
   1     file -- to the Georgia Voter File?

   2              A.         That's a simplistic way to put

   3     it.

   4                         As I said earlier, the matching

   5     is actually done by a compiler specifically

   6     licensed by the United States Postal Service

   7     and largely governed by them, in terms of

   8     matching criteria.

   9                         So basically I am an NCOA

 10      subscriber, but the actual matching is done

 11      by licensees of the Postal Service.                          They're

 12      specifically licensed and regulated in how

 13      they do that process.

 14               Q.         So when you say -- this e-mail

 15      says that you personally processed these

 16      files, you understand that to refer to you

 17      collected these files, gave them to someone

 18      else who did the actual matching?

 19               A.         No.

 20                          The way that the data

 21      processing works -- I think I covered this

 22      earlier -- when I open a database in my



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                                                                            Page 76
   1     software, it identifies key fields, such as

   2     name, address, city, state, ZIP, and

   3     transmits only those portions of the data for

   4     NCOA processing.            And then it's processed,

   5     and it's returned to me.

   6                         And if there's a match, there

   7     is a code in the data that indicates that

   8     there was an NCOA match and that a new

   9     address was provided.

 10               Q.         Okay.      And so then you shared

 11      the list of matches with Mr. Somerville?

 12               A.         I did share the results of the

 13      NCOA processing with him, as I talked about

 14      earlier, so that he could go through and kind

 15      of pull random samples and put his old

 16      investigator hat on and try to shoot holes in

 17      the processing.           But what he got was a subset

 18      of this data, if that makes sense.

 19               Q.         And did you share this with

 20      Mr. Somerville by e-mail or a different way?

 21               A.         File exchange.

 22               Q.         Did you know that these files



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                                                                            Page 77
   1     were going to be used to support voter

   2     challenges?

   3              A.         At the time, we were focused on

   4     identifying residency issues that occurred in

   5     the general.         That was our primary focus for

   6     most of our communications.

   7                         This processing later was used

   8     to do challenges, but that's not the purpose

   9     for which it was done.

 10               Q.         Okay.      But at some point, did

 11      you understand that that information was

 12      going to be used to support voter challenges

 13      after the November election?

 14               A.         That information, per se, was

 15      not.     When we did ultimately create

 16      challenges, it's a totally different set of

 17      circumstances because identifying votes that

 18      were cast with potential residency issues and

 19      identifying votes to be challenged, that was

 20      two very different subjects.

 21               Q.         Can you explain that?

 22               A.         Well, in one instance, we're



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                                                                            Page 78
   1     looking back on voters who may have cast

   2     ballots in the general election with

   3     residency issues, and in another sense, we're

   4     looking forward at voters who may cast

   5     ballots in the future with potential

   6     residency issues.             And those are two

   7     different sets of criteria.

   8              Q.         Did you ever consider

   9     preemptively challenging votes before the

 10      election to assess with any challenge to the

 11      election after the vote?

 12               A.         Which election are you

 13      referring to?

 14               Q.         The January runoff.

 15               A.         As I said earlier, yes, we did

 16      consider doing that because we saw thousands

 17      of ballots that are cast in the general

 18      election that appeared to have residency

 19      issues.       And it appears that there were

 20      thousands of voters who returned to the

 21      county they previously resided in and cast

 22      ballots there.



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                                                                            Page 79
   1                         And when a voter moves from

   2     county A to county B more than 30 days before

   3     the election cycle, goes back to their old

   4     county, claims to still live there falsely,

   5     that is arguably a felony under OCGA

   6     21-2-562.

   7                         So, yeah, I had major concerns

   8     that if people had already potentially cast

   9     unlawful ballots in the general, I certainly

 10      didn't want to see that conduct repeated in

 11      the runoff.

 12               Q.         Is it your understanding that

 13      any elector may challenge other voters within

 14      their county?

 15               A.         Yes.

 16               Q.         And given the -- how much of a

 17      concern this was for you, can you tell me a

 18      little bit more about why you did not choose

 19      to file any challenges, given that you did

 20      have both the data and the concerns?

 21               A.         I was very busy doing analysis

 22      and queries and basically investigating the



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                                                                            Page 80
   1     data itself and didn't see the need to file a

   2     challenge, myself.             Hearing that there were

   3     others that did want to file challenges in

   4     Gwinnett County that I live in, if Gwinnett

   5     is covered, then there's no reason for me to

   6     get involved.

   7              Q.         Did anyone ever specifically

   8     ask if you would be interested in filing a

   9     challenge?

 10               A.         Not that I recall, no.

 11                          MR. SHELLY:           Henry, can we take

 12               this one down and pull up Exhibit B,

 13               as in boy.

 14                          (Davis Exhibit B, Affidavit

 15               of Mark Davis, No Bates, was

 16               marked for identification, as of

 17               this date.)

 18      BY MR. SHELLY:

 19               Q.         Do you recognize this document?

 20               A.         (Document[s] reviewed.)

 21                          Can you scroll to the next

 22      page?



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                                                                            Page 81
   1                         (Videographer complied.)

   2              A.         (Document[s] reviewed.)

   3                         That appears to be an affidavit

   4     that I did early on, following the general.

   5              Q.         Did you draft this yourself?

   6              A.         Largely.         I believe there were

   7     some suggested formatting and things like

   8     that, but, yes, I did.

   9              Q.         And who were the suggestions

 10      from?

 11               A.         I don't recall.              It was just

 12      paragraphs and things like that, where to

 13      break them and things like that.

 14                          But, yes, I did write it

 15      myself.

 16               Q.         And why did you create this?

 17               A.         I believe that was for my

 18      testimony before the Senate Government

 19      Oversight Committee.

 20               Q.         Do you understand this to be

 21      the affidavit that Mr. Summers --

 22      Somerville's e-mail was referring to in the



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                                                                                 Page 82
   1     document we just looked at?

   2              A.         I did more than one version of

   3     this affidavit.           I'm not sure which one he's

   4     referring to there.              It could have been this

   5     one.     I'm not sure.

   6              Q.         Was this ever submitted to a

   7     court?

   8              A.         I don't know the answer to that

   9     question.

 10               Q.         Was this submitted to the

 11      Senate committee that you referenced?

 12               A.         Yes.

 13               Q.         And so you can see the copy

 14      that I have is not signed on the third page,

 15      but you did sign a version of this.                          Is that

 16      correct?

 17               A.         Signed and notarized, yes.

 18               Q.         Great.

 19                          And besides creating different

 20      versions of this one, have you prepared any

 21      other affidavits within the past year?

 22               A.         I believe I did a follow-up,



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                                                                                       Page 83
   1     where I revised some numbers.                      I had done

   2     this one just after completing the analysis

   3     that I was speaking on.

   4                         Following that, as I was going

   5     through the data, I found that some of the

   6     records in there were people changing their

   7     residential -- telling the Postal Service

   8     they were moving and they were changing their

   9     address to a P.O. Box.

 10                          Of course, you can't be

 11      registered at a P.O. Box.                   So I ended up

 12      going in and stripping those records out.                               So

 13      the numbers were revised at some point.                            And

 14      I recall doing a follow-up affidavit to be

 15      used for another purpose.                   I'm trying to

 16      remember what that was.                 I can't recall off

 17      the top of my head.              I'd have to go back and

 18      review my records.

 19               Q.         Okay.      I want to ask you a few

 20      things about this one in paragraph 5.                             You

 21      say you create an enhanced version of the

 22      Georgia Voter Database, which is something



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                                                                               Page 84
   1     that you mentioned a few times earlier today

   2     in our conversation.

   3                         Can you tell me a little bit

   4     more about what that enhanced version means,

   5     what you did to enhance the Georgia Voter

   6     Database?

   7              A.         Well, there are subtle

   8     differences between the way a voter database

   9     must be managed by a Secretary of State and

 10      the way that I can manage my version of it

 11      for -- that is used primarily for

 12      campaign/marketing-type purposes.

 13                          As an example, when a Secretary

 14      of State runs NCOA, they have to go through a

 15      verification process that I don't have to go

 16      through.

 17                          If a voter tells the Postal

 18      Service that they're moving to a new address,

 19      my candidates generally want to mail to them

 20      where they want to get their mail.                          And so

 21      I don't have the restrictions about when I

 22      can and can't do an update.                    So that's one of



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                                                                                    Page 85
   1     the distinctions.

   2                         Another is, you know, the

   3     Secretary of State's office may have phone

   4     numbers or e-mails or cell phones, that kind

   5     of thing, but they don't provide that.                            So if

   6     I have campaigns who want that information,

   7     then I have to go through and append it.

   8                         The Secretary of State's

   9     database is a relational database, meaning

 10      that there's a header record and then a

 11      series of vote history trailers.                        And to make

 12      the data simpler for my customers to work

 13      with, I tend to take the major elections and

 14      insert them into the header records so that

 15      it's all in one place and it's easier -- for

 16      people that are not real computer savvy or

 17      experienced in data processing, it makes it

 18      easier for them to work with.

 19               Q.         Okay.      In paragraph 6, you say,

 20      "Based on that experience, I've become aware

 21      of numerous issues regarding residency and

 22      redistricting issues, among other concerns



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                                                                            Page 86
   1     relating to absentee balloting.                       This

   2     awareness has caused me to become an advocate

   3     for election integrity for the past

   4     20 years."

   5                         When did you -- what were the

   6     specific concerns that you developed about

   7     voting eligibility?

   8              A.         Well, as I testified to

   9     earlier, as early as 2002, I went before the

 10      State Board of Elections and discussed

 11      residency issues, many of them caused by

 12      people moving and not updating their data,

 13      but many of them also caused by redistricting

 14      errors.

 15                          And I think, at the time, in

 16      2002, I gave an example of Gordon County,

 17      Georgia.       Gordon County used to be all one

 18      House district, all one Senate district, and

 19      all one Congressional district.                       Over

 20      the years, it got split up.

 21                          The problem was, back in the

 22      day, it appeared to me that Gordon County was



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                                                                              Page 87
   1     letting people vote pretty much wherever they

   2     wanted to.        So if someone worked in town and

   3     they'd rather go vote right after work at a

   4     precinct in town, from what I understand,

   5     they were allowed to do that.                      Then when the

   6     county was split up, that caused people to be

   7     assigned to the wrong districts.                        And I was

   8     seeing numerous voters that had been

   9     improperly redistricted.

 10                          And that was just an example.

 11      But I was seeing those kinds of issues all

 12      over the state.           And I've continued to see

 13      those kinds of issues for nearly 20 years

 14      since.

 15               Q.         And am I understanding

 16      correctly from your previous testimony that

 17      you discussed voter challenges in regards to

 18      these issues previously, but it's your

 19      understanding you never recommend that they

 20      be made until this past election?

 21               A.         Well, challenging voters has

 22      long been a remedy for these kinds of issues.



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                                                                                  Page 88
   1     But, to be clear, I have done the kind of

   2     analysis that we're talking about in

   3     different cases where I was called in to

   4     testify.

   5                         But November of 2020 was the

   6     first time I've actually done that analysis

   7     statewide.        It's a whole lot of work, and

   8     it's a whole lot of data to process.

   9                         So in terms of redistricting

 10      and reapportionment, I'm going through that

 11      process every ten years.                  And it takes the

 12      counties quite a bit of time to get that

 13      done.     And the candidates that I work with

 14      can't wait that long.

 15                          So I do what they do with

 16      geocoding and digital mapping software.                           And

 17      then, you know, it's not a perfect science,

 18      but it gets us close enough to where the

 19      candidates can actually use the data to

 20      campaign.

 21                          So that addresses redistricting

 22      issues there.          But in terms of residency



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   1     issues, in the context of building my

   2     enhanced version of the voter database,

   3     I have previously run NCOA processing and

   4     remapped people where they say they currently

   5     live, but as far as redistricting and

   6     reapportionment, that's a different process.

   7                         In doing that processing,

   8     I have never seen the big picture about the

   9     people who moved and the impact on their

 10      eligibility to vote.

 11                          There's really three different

 12      issues there.          I call them "tranches."

 13      There's people who move outside the state,

 14      there are people who move from one county to

 15      another, and then there are people who move

 16      within the same county.

 17                          And from a legal perspective,

 18      those are really three different sets of

 19      issues -- different sets of issues there, in

 20      a way.      But from a campaign perspective, the

 21      campaigns that I worked for primarily are

 22      concerned with getting their message to the



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                                                                                  Page 90
   1     voter, wherever it is they currently live.

   2     If that makes sense.

   3              Q.         You mentioned how big of a

   4     project it is to do this processing.

   5                         Can you -- how long does it

   6     take to get the NCOA file and the voter file?

   7              A.         Well, before even getting to

   8     that point, there's quite a bit of work.

   9              Q.         Tell me about that.

 10               A.         Well, as I mentioned earlier,

 11      the voter file is so large that it's --

 12      I split it into three parts.                     So that has to

 13      be done.

 14                          Then I have to get it imported

 15      into a structure that can be used.                          I have to

 16      create work fields that I can populate

 17      instead of a -- instead of working with

 18      addresses that are separated into street

 19      numbers, street name, post directional unit

 20      number, all that kind of stuff.

 21                          I've got to concatenate those

 22      fields and drop them into a working field



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                                                                               Page 91
   1     that I can use.           In other words, I have some

   2     preparation of the data that I have to do

   3     before I can even get it to the point of

   4     being ready to run National Change of Address

   5     processing.

   6                         And prior to doing that, I'll

   7     usually go through and run CASS certification

   8     on it.      As I mentioned before, that's the

   9     Coding Accuracy Support System.                       That's built

 10      into my software.             That's done locally using

 11      local data that's built into the software.

 12                          And what that does is it

 13      normalizes the abbreviations used, such as

 14      "ST" for street or "RD" for road, those kinds

 15      of things.        It assigns the ZIP+4, the

 16      delivery point, those kinds of things.

 17                          Basically, it helps to put the

 18      data into a format that's more easily

 19      digestible by National Change of Address

 20      processing, all of which is done according to

 21      USPS standards.

 22                          And it's an enormous data file.



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                                                                              Page 92
   1     Normally, when I'm processing the voter

   2     database, I'll run NCOA on the mailing

   3     address and the physical address.                         So when

   4     you're talking about 7.6 million records,

   5     you're talking about double that in an NCOA

   6     run.

   7              Q.         How long does that process

   8     take, from start to finish, to do it right?

   9              A.         It really depends on the

 10      workload that my compiler has at the time.

 11      I will typically kick it off on maybe a

 12      Friday afternoon and then just forget about

 13      it for a day.          When I come back the next day,

 14      it's usually done.

 15                          I don't know about -- exactly

 16      how many hours.           It's not like I'm sitting

 17      there at my computer having to watch it.

 18      Once I start the process, it just runs.

 19               Q.         Okay.      Okay.        Returning to this

 20      document in paragraph 7, you say you've been

 21      brought in as an expert witness in a total of

 22      five election disputes, which I think you



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                                                                                  Page 93
   1     mentioned earlier.

   2                         Can you tell me about those

   3     five cases?

   4                         MS. SIEBERT:            Again, I'm

   5              objecting to relevance.

   6              A.         Well, I can't tell you what

   7     those cases were off the top of my head.                          I'd

   8     have to research that.                 But off the top of my

   9     head, I couldn't tell you the exact document

 10      name.

 11                          Two of them related to a

 12      dispute election in House District 1 back in,

 13      I believe it was, 2002; two them were related

 14      to a dispute in House District 28, I believe

 15      in 2018 or 2019, or both -- there was two

 16      cases surrounding that one as well; and then

 17      the fifth case was in Long County, Georgia,

 18      just after the primary of 2020.

 19      BY MR. SHELLY:

 20               Q.         And was any of your testimony

 21      about data processing related to the address

 22      of potentially ineligible voters?



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                                                                            Page 94
   1              A.         Yes.

   2              Q.         In how many of them?

   3              A.         All of them.

   4              Q.         And were those conclusions as a

   5     result of the same processing you've been

   6     describing here?

   7              A.         Yes and no.

   8                         Some residency issues are

   9     caused by redistricting or districting

 10      issues.       Usually those are errors made by the

 11      county.       And some are caused by people

 12      moving.       Some are caused just by people

 13      straight up being assigned to the wrong

 14      county.       Some people claim to live somewhere

 15      that they don't.

 16                          There's any number of issues

 17      that can cause residency- or districting-type

 18      issues, so I can't really give you a pat

 19      answer for all circumstances.

 20               Q.         Okay.      Let's skip down to

 21      paragraph 14.          I read it to say, "Although

 22      our state laws on residency appear to be



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                                                                            Page 95
   1     clear, there is obvious conflict between the

   2     effective implementation and administration

   3     of those laws and the 1993 National Voter

   4     Registration Act, as well as some existing

   5     Georgia case law which has only made the

   6     situation worse."

   7                         Can you tell me what you meant

   8     by "obvious conflict"?

   9              A.         Well, as you may be aware, when

 10      a Secretary of State gets an NCOA match,

 11      they're required to contact the voter to

 12      investigate that NCOA match.                     Basically ask

 13      the voter:        Do you still claim residency at

 14      the current address you're registered at or

 15      have you moved?

 16                          You have to send out those

 17      letters and investigate that.                      And the

 18      Secretary of State is prohibited by the

 19      1993 National Voter Registration Act from

 20      doing so-called list maintenance within

 21      90 days of a federal election.

 22                          And here, in Georgia, 21-2-233



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                                                                                 Page 96
   1     permits a Secretary of State to run that

   2     National Change of Address processing, it

   3     appears, pretty much at its discretion.                           In

   4     fact, I believe that term "discretion" is

   5     used.     Yet the 1993 NVRA prohibits what it

   6     can actually do with that information.

   7                         So our Secretary of State is on

   8     record blaming the 1993 National Voter

   9     Registration Act and its prohibitions,

 10      preventing him from preventing some of these

 11      votes that have been cast with residency

 12      issues.

 13                          He and his staff have admitted

 14      on multiple occasions that such errors do

 15      happen, but they claim that the NVRA

 16      prohibits them from being able to address

 17      them in a meaningful way.

 18               Q.         And so you say that voter

 19      challenges then is as a way to get around

 20      those NVRA restrictions?

 21               A.         It's not really --

 22                          MS. SIEBERT:            Objection --



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                                                                            Page 97
   1              A.         -- getting around the NVRA

   2     restrictions, because a challenge to a voter

   3     under 21-2-230 is not a challenge to their

   4     registration; it's a challenge to their

   5     eligibility to vote in a particular election.

   6                         And it's not the Secretary of

   7     State doing it; it is an individual voter

   8     filing a challenge, as authorized by Georgia

   9     statute.

 10      BY MR. SHELLY:

 11               Q.         In the last line of this

 12      highlighted part, what is the existing

 13      Georgia case law that you were referring to

 14      made the situation worse?

 15               A.         There is existing case law that

 16      muddies the water between what the law says

 17      and what that case law says.

 18                          If I recall correctly -- and

 19      I couldn't quote you chapter and verse, but

 20      I believe there was a case years ago where

 21      there was a county commissioner whose house

 22      burnt down, and he had to live somewhere else



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   1     while he was getting it rebuilt.                        And someone

   2     challenged his residency.

   3                         And the court said, Well, you

   4     know, it was not his intention to change his

   5     address.       He intends to rebuild his house and

   6     come back to it.

   7                         So they -- they rejected the

   8     challenge to his residency.                    And so ever

   9     since then, when there is a residency issue,

 10      the court wants you to prove what the voter's

 11      intent was.

 12                          So if you're able to subpoena

 13      that voter, bring them into court, put them

 14      in the witness stand, swear them in and ask

 15      them, Did you move from, you know, 123 Main

 16      Street to 241 Oak Street?                   And they say yes,

 17      I did.      Was it your intention to establish a

 18      new, permanent residence?                   Yes, it was.

 19                          In those circumstances, then

 20      the judges tend to rule in favor of -- well,

 21      let me rephrase that.                The judge will tend to

 22      categorize that as an irregular vote, because



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                                                                               Page 99
   1     they cast a vote in a district they didn't

   2     live in.

   3                         There was another instance

   4     where a woman claimed to reside at a piece of

   5     vacant property that she owned.                       So I've seen

   6     all kinds of issues where we have to litigate

   7     issues in court that should be obvious under

   8     Georgia law, but tend to get the waters

   9     muddied in a courtroom over some of them.

 10               Q.         Okay.      And are those examples

 11      of what you're referring to in paragraph 16,

 12      where it says, "I have only seen judges act

 13      on those residency issues when we have

 14      succeeded in bringing people into court, have

 15      them put on the witness stand under oath, and

 16      they have admitted that they did not, in

 17      fact, move" -- "that they did, in fact, move

 18      with the intention of establishing a new

 19      residence"?

 20                          That sounds like what you were

 21      just describing; right?

 22               A.         In a situation where you're



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                                                                           Page 100
   1     talking about a person who has moved in the

   2     context of that particular kind of residency

   3     issues, yes, that seems to be the mindset.

   4                         As an example, there was one

   5     guy in House 28 that I recall finding who had

   6     moved from Georgia to North Carolina back in

   7     2015.     It appears he sold his house here and

   8     moved to North Carolina but kept coming back

   9     here to vote for years afterwards.

 10                          And, you know, I wanted to

 11      challenge that.           The person I was working

 12      with told me it's too difficult to subpoena

 13      someone out of state and get them into court

 14      and all of that.            And, you know, there's no

 15      point in really pursuing that.                       So we didn't.

 16                          So it's often not enough to

 17      prove that as a matter of fact, someone did

 18      move.     Apparently the courts want you to

 19      prove what their intention was.

 20                          Now, in my mind, when someone

 21      sells their house and factually doesn't live

 22      there anymore, in fact, factually doesn't



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                                                                                 Page 101
   1     live in the state anymore, it would seem to

   2     me that that should be evidence that they

   3     don't live at that particular residence

   4     anymore.

   5                         And state law says, you know,

   6     if you move to another state and get a

   7     driver's license or register to vote,

   8     et cetera, you lose your residency here in

   9     Georgia.

 10                          So, you know, that example sort

 11      of sticks out.          But I've seen numerous other

 12      examples.       So what tends to happen is in a

 13      case where the margin between the candidates

 14      is low, that's normally a manageable burden.

 15      But when you get into a situation where

 16      you're talking about potentially tens of

 17      thousands of voters, I guess you could

 18      imagine how long it would take to parade tens

 19      of thousands of voters through a courtroom,

 20      especially in an election-type hearing --

 21                          THE DEPONENT:             Excuse me.          I'm

 22               getting a spam call.                 Let me silence



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                                                                             Page 102
   1              my phone.

   2                         (Pause.)

   3              A.         Elections cases are supposed to

   4     move very quickly.             And so in a situation

   5     where the number would be extremely large,

   6     I would think the only alternative for a

   7     plaintiff in a situation like that would be

   8     to basically plead systemic irregularities.

   9              Q.         So when you say in this

 10      paragraph "when we have succeeded in bringing

 11      people into court," how many people have you

 12      brought into court?

 13               A.         I couldn't tell you off the top

 14      of my head.

 15                          In each of these cases, there

 16      are different categories of issues.                          Some are

 17      redistricting issues; some are residency

 18      issues of different type, either caused by

 19      someone moving or someone being improperly

 20      registered to begin with.

 21                          Going back through all those

 22      cases, I couldn't tell you exactly how many



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                                                                                Page 103
   1     that was off the top of my head.

   2              Q.         And are you getting into court

   3     through challenges to the election results,

   4     is where this comes up, or challenges to

   5     these individuals specifically, or to

   6     something else?

   7                         MS. SIEBERT:            Again, I'm just

   8              going to object to relevance here.

   9              This whole line of questioning has

 10               nothing to do with this case.                       You're

 11               asking him about things from 20 years

 12               ago, things from 5 years ago, things

 13               from the general.              This -- this is not

 14               relevant.

 15                          MR. SHELLY:           I think the

 16               relevance depends, in part, on the

 17               answer.       I'm particularly curious if

 18               people are being brought into court

 19               through the challenges, which --

 20                          MS. SIEBERT:            But if they were

 21               brought into court 20 years ago, it

 22               clearly wouldn't be relevant.                       I mean,



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                                                                            Page 104
   1              that's what he's been testifying

   2              about.

   3                         I'm just failing to understand

   4              the relevance to this case in this

   5              whole line of questioning.

   6                         MR. SHELLY:           I think the

   7              experience with those previous

   8              challenges and what the result of them

   9              were would inform the propriety of the

 10               current challenges.

 11                          MS. SIEBERT:            But -- well, the

 12               experience he's had with the previous

 13               challenge would -- or previous

 14               databases, previous work he's done in

 15               all of this data, would establish his

 16               experience as a professional in this

 17               space.      It wouldn't have anything to

 18               do with these -- the challenges at

 19               issue here.

 20                          MR. SHELLY:           Okay.       I am happy

 21               to tailor my questions narrowly to the

 22               issue of challenges, but I would hope



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                                                                              Page 105
   1              to ask him specifically about the

   2              challenges.          If there were other cases

   3              or the times he ended up in court for

   4              issues that were unrelated to that,

   5              I'm happy to not probe those.

   6                         MS. SIEBERT:            Okay.       So are you

   7              saying you're willing to tailor your

   8              questions to the challenges that this

   9              case is actually about?

 10                          MR. SHELLY:           I think I'm

 11               interested in discussing all the voter

 12               challenges that Mr. Davis has been

 13               involved with.

 14                          MS. SIEBERT:            Okay.       Then

 15               I would object to any continued line

 16               of questioning about any challenges

 17               that have nothing to do with this case

 18               that he's been involved in.

 19                          If he was involved in

 20               challenges 20 years ago, that has

 21               nothing to do with this case and what

 22               the challenges were for the runoff



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                                                                           Page 106
   1              election in 2021.

   2                         MR. SHELLY:           Okay.       I --

   3                         THE DEPONENT:             Melena, if it's

   4              okay, I testified earlier, I've never

   5              filed a challenge.               And I'm

   6              comfortable answering the question, if

   7              it's okay.

   8                         MS. SIEBERT:            Well, I -- well,

   9              my point is -- Mark, I appreciate

 10               that.      My point is that you -- this

 11               scope goes to his expertise in this

 12               space.      But, again, it has nothing to

 13               do with the challenges.

 14                          And he just confirmed, he

 15               had -- specifically he's never

 16               submitted a challenge.                  So if you

 17               can't tailor a question to the

 18               challenges at hand, it's not relevant.

 19                          And we've given you a lot of

 20               latitude on that, but at some point,

 21               that has to end, for goodness sakes.

 22                          MR. SHELLY:           Yeah, I appreciate



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   1              that.      We disagree on this issue.                    My

   2              position is we'll have to agree to

   3              disagree for now and have Mr. Davis

   4              answer the questions and then we can

   5              resolve the propriety of those answers

   6              after the deposition.

   7                         MS. SIEBERT:            Okay.

   8                         MR. SHELLY:           Thank you.

   9              A.         There is a huge difference

 10      between filing a challenge to an individual

 11      voter who lives in your county and filing a

 12      challenge to an election itself.                        Those are

 13      completely different statutes and completely

 14      different processes.

 15                          As I testified earlier, I've

 16      never filed a challenge against a voter

 17      personally.         I have testified in challenged

 18      elections.        There's a big difference there.

 19                          You know, after an election is

 20      conducted, if a candidate sees illegal or

 21      irregular or improperly rejected ballots and

 22      they file a legal challenge within the time



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                                                                           Page 108
   1     limitation and it goes to court, then, you

   2     know, I have gone in and done analysis of

   3     those situations, and I've testified about

   4     the issues that occurred.

   5                         But the word "challenge" is

   6     used in both situations but in completely

   7     different contexts.

   8     BY MR. SHELLY:

   9              Q.         And that's the distinction

 10      I was hoping to understand.                    Thank you,

 11      Mr. Davis.

 12                          Can we switch to paragraph 19.

 13      Here, it shows as a result of your

 14      processing, 267,255 voters is your figure for

 15      how many moved out of state.                     And then in

 16      paragraph 20, you say, "Some of those no

 17      doubt will be students and people serving in

 18      the military who intend to return to Georgia,

 19      and they are, of course, lawfully permitted

 20      to vote."

 21                          Am I understanding that

 22      correctly to mean that there was not reason



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                                                                             Page 109
   1     to believe that all 267,255 voters you

   2     identified were ineligible to vote?

   3              A.         Repeat your question.

   4              Q.         I just wanted to make sure I'm

   5     reading these two paragraphs together to

   6     reflect your understanding that not all of

   7     these 267,255 voters that you identified were

   8     ineligible to vote.

   9              A.         Correct.

 10                          As I testified earlier, a

 11      student or a member of the military or other

 12      people leaving the state for over a year

 13      cannot file temporary changes of address.

 14      They would need to file a permanent change of

 15      address.       So, yes, some of those folks would

 16      remain eligible to vote here.

 17                          And I showed there were roughly

 18      15,000 or so who actually did.                       I think even

 19      the number who did so by absentee who remain

 20      registered here I think was even higher, if I

 21      recall.

 22                          So, yes, so some number of



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                                                                                Page 110
   1     those are going to be valid.                     And, of course,

   2     certainly not anywhere close to that number

   3     actually cast ballots in the election.

   4              Q.         Do you have any idea how many

   5     of those 267,255 voters may have been

   6     military or student voters?

   7              A.         No, I do not.

   8              Q.         In paragraph 24, you calculate

   9     122,231 voters who moved across state [sic]

 10      lines but within Georgia.

 11                          Would your methodology have

 12      identified all of the registered voters who

 13      submitted NCOA notices for an address outside

 14      of their county but within Georgia?

 15               A.         Well, to start with, as

 16      I mentioned earlier, I completed this

 17      analysis just before testifying.                        And after

 18      that testimony, I realized some of those had

 19      changed their addresses to P.O. Boxes.                            So

 20      I would revise that number of 122- to

 21      approximately 110-.

 22                          But, yes, the USPS data shows



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                                                                                  Page 111
   1     that they moved from one county to another

   2     county in Georgia.             And based on the move

   3     effective date they gave the Post Office when

   4     they filed their change of address, that move

   5     effective date was more than 30 days in

   6     advance of the election.                  But, of course, not

   7     all those people cast ballots.

   8              Q.         True the Vote calculated this

   9     figure in their challenges within state

 10      movers to be 124,114.

 11                          Do you know why there would be

 12      a discrepancy?

 13               A.         I wasn't involved in their

 14      processing.         I couldn't tell you.

 15                          I would imagine they would have

 16      done different dates.                That might be one

 17      possible explanation.                Because, as I

 18      mentioned earlier, NCOA is a window.                              It's

 19      either looking back 18 months or it's looking

 20      back 48 months.

 21                          So when you process NCOA, it's

 22      a particular snapshot at a particular moment



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                                                                           Page 112
   1     in time.       So that, alone, could easily

   2     account for the disparity.

   3                         I just recently ran NCOA again,

   4     and, you know, the numbers had gone up

   5     considerably as far as the number of hits

   6     statewide.        So it's really a moving target.

   7                         And that's part of the reason

   8     for the certification, is one of the primary

   9     reasons for the certifications, is in order

 10      to be in compliance with United States Postal

 11      Service move update requirements, the

 12      processing has to be done within a certain

 13      amount of time of when you do the mailing or

 14      you can risk losing your postage discounts.

 15               Q.         And then can we look at

 16      paragraph 36.          You refer to the antiquated

 17      Voter Registration Act.

 18               A.         Yes.

 19                          I believe the 1993 National

 20      Voter Registration Act should be amended so

 21      that it's more helpful in keeping our

 22      nation's voter rolls cleaner.



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                                                                           Page 113
   1                         I would advocate for the use of

   2     a national voter data clearinghouse, not

   3     federalized elections or federalized voter

   4     registration but something similar to or

   5     perhaps even ERIC, E-R-I-C, the Electronic

   6     Registration Information Clearinghouse.

   7                         Somewhere in the neighborhood

   8     of half of our states are participating

   9     states.      My understanding is it's an NGO, and

 10      that each state sends a designee to

 11      participate in the governance of ERIC.

 12                          And the states will submit

 13      voter data with a hatched version of the full

 14      date of birth and Social Security number so

 15      that that information remained confidential,

 16      but at the same time can be matched against

 17      other member states.

 18                          It's very useful in determining

 19      if a voter is registered in more than one

 20      state, which happens often.                    As an example,

 21      the 267,000 that moved out of Georgia, some

 22      large number of them probably are registered



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                                                                                 Page 114
   1     in other states.

   2                         I'm not privy to the results of

   3     the analysis that ERIC does, but I would

   4     imagine that they routinely find people who

   5     have moved from one state to another.                             And

   6     when they move to their new state, they got a

   7     driver's license and registered to vote and

   8     never cancelled their voter registration in

   9     Georgia.

 10                          So, yes, I do believe that, you

 11      know, in this day and age, that's nearly a

 12      30-year-old law there.                 And technology has

 13      advanced considerably since those days.

 14                          Yes, I do believe that we can

 15      do better and that we can keep our voter

 16      rolls cleaner and we can help ensure people

 17      are able to vote and vote lawfully and vote

 18      for people who actually represent them.

 19                          MR. SHELLY:           Henry, can we look

 20               at Exhibit C now.

 21                          (Davis Exhibit C,

 22               Mark Davis Facebook Post, May 7 at



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                                                                           Page 115
   1              2:07 p.m., No Bates, was marked

   2              for identification, as of this

   3              date.)

   4     BY MR. SHELLY:

   5              Q.         Do you recognize this post?

   6              A.         Yes, I do.

   7              Q.         Can you explain what it is?

   8              A.         I'm basically trying to explain

   9     residency issues and put it in simpler terms

 10      for people to be able to understand more

 11      easily.

 12               Q.         Did anyone assist in the

 13      drafting of this post?

 14               A.         No.

 15               Q.         Did anyone know you were going

 16      to post this before you did?

 17               A.         No -- well, not that I recall.

 18      Let me think.

 19                          (Pause.)

 20                          I do recall several people

 21      telling me that the information I've tried to

 22      convey is highly technical and that sometimes



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                                                                           Page 116
   1     I put it in terms that are not clear to

   2     people who are not experienced with this kind

   3     of work.

   4                         And I see what they're saying.

   5     So I decided, on my own, to do this because

   6     I had heard that kind of feedback.

   7              Q.         This shows at the top that you

   8     tagged BJ Van Gundy and 24 others.

   9                         How did you decide who to tag?

 10               A.         Off the cuff.             People who I

 11      could think of that might be interested in

 12      reading it.

 13               Q.         Did you tag anyone associated

 14      with True the Vote?

 15               A.         I don't know.

 16               Q.         Okay.

 17                          MR. SHELLY:           Henry, can we

 18               briefly pull up tab K -- or Exhibit K.

 19               Sorry.

 20                          (Davis Exhibit K,

 21               Mark Davis Facebook post dated

 22               May 7 showing partial tag list, No



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                                                                           Page 117
   1              Bates, was marked for

   2              identification, as of this

   3              date.)

   4     BY MR. SHELLY:

   5              Q.         Here, it's showing who's

   6     tagged.       I'm interested, first, why you

   7     tagged Courtney Kramer?                 Who's about five

   8     names down.

   9              A.         Um-hum.

 10                          MS. SIEBERT:            Objection.

 11               Again, relevance.

 12                          Does this have anything to do

 13               with the challenges that were

 14               submitted for the January runoff

 15               election?

 16                          MR. SHELLY:           My question is

 17               about -- this case is about True the

 18               Vote's challenges, so I have questions

 19               about the challenges, and I have

 20               questions about True the Vote.

 21                          I understand Ms. Courtney

 22               Kramer to be affiliated with True the



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                                                                               Page 118
   1              Vote, and so I'm curious why she was

   2              tagged here.

   3                         MS. SIEBERT:            Okay.

   4              A.         Was she at the time?                  I thought

   5     that was a recent development.

   6     BY MR. SHELLY:

   7              Q.         Can you tell me why you decided

   8     to tag her?

   9              A.         People on my Friend list who

 10      I thought might be interested, for one reason

 11      or another.

 12               Q.         Okay.      And would that be the

 13      same for Derek Somerville?                    About six or

 14      seven names up from the bottom.

 15               A.         Um-hum.

 16               Q.         Okay.

 17                          Can we switch back to the

 18      previous exhibit of this Facebook post.

 19      I think it was Exhibit C.                   And I'm looking

 20      for the second-to-the-last paragraph, maybe

 21      of the -- the next page.                  Yes.

 22                          "Some of those folks may have



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                                                                                Page 119
   1     moved temporarily."               This is referring to

   2     your calculations of how many people had

   3     moved.        "Maybe they went away to college, to

   4     serve a tour of duty in the military, or for

   5     some other temporary reason.                      If that was the

   6     case, they did not lose their residency, and

   7     their votes were lawful.

   8                         "For that reason," you write,

   9     "I will not publish the list of voters.                            I

 10      will turn over the data only for an official

 11      investigation, and I will not accuse John and

 12      Jane or any other voter of breaking the law.

 13      That isn't my job.              That will be up to law

 14      enforcement."

 15                          Did I read that correctly?

 16               A.         Um-hum.

 17               Q.         Again, can you elaborate on

 18      your reasoning for not publishing the list of

 19      voters you compiled?

 20               A.         I think I did there.                   Some

 21      number of those people may be away at college

 22      or on a tour of duty.                 And until an



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   1     investigation is done and those people are

   2     identified, and those persons who broke the

   3     law were identified, you know, it's really up

   4     to our elected -- our elections officials and

   5     law enforcement to determine who did and

   6     didn't break the law.

   7                         There is NCOA evidence that

   8     indicates that that is a possibility, but

   9     that's not a be all end all, without an

 10      investigation.          Even when the Secretary of

 11      State has actionable NCOA evidence, he has to

 12      verify it.

 13                          A Board of Elections that

 14      accepts a challenge would also investigate.

 15      So if the residency of these voters is going

 16      to be called into question, it should be done

 17      by our elections officials.

 18                          I see evidence that quite a few

 19      voters may have cast ballots in counties they

 20      no longer lived in.              And, you know, that's up

 21      to our elections officials and law

 22      enforcement to investigate.



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                                                                           Page 121
   1              Q.         Were you concerned with

   2     protecting the privacy of these individuals

   3     before any official determination had been

   4     made?

   5              A.         I didn't want to name

   6     particular voters.             That's not my focus here.

   7     I'm not out to embarrass anyone or put anyone

   8     on the spot or draw unwarranted attention to

   9     them.     I'm just in pursuit of vote integrity.

 10               Q.         You say you will "turn the data

 11      over for an official investigation."

 12                          Did you provide this data to

 13      anybody official?

 14               A.         Secretary of State's office.

 15               Q.         And do you know what you did

 16      with that data?

 17               A.         I turned it over in May for an

 18      investigation that is still ongoing.

 19               Q.         Okay.

 20                          MR. SHELLY:           I think another

 21               hour has passed.              Would you like to

 22               take another ten-minute break?



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                                                                              Page 122
   1                         THE DEPONENT:             Yes.

   2                         MR. SHELLY:           Great.        We'll come

   3              back at 11:25.

   4                         THE VIDEOGRAPHER:                The time is

   5              11:15 a.m.         We're going off the

   6              record.

   7                         (Recess taken.)

   8                         THE VIDEOGRAPHER:                We are back

   9              on the record.            The time is 11:25 a.m.

 10      BY MR. SHELLY:

 11               Q.         Mr. Davis, are you familiar

 12      with the term "unique identifier" as it

 13      relates to data processing?

 14               A.         That can be a lot of different

 15      things, but, in general, I understand what

 16      you're referring to.

 17               Q.         Can you explain to me your

 18      understanding?

 19               A.         Well, in the case of the voter

 20      registration database, it would be the voter

 21      registration number.               And in other

 22      applications, it could be the record number,



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                                                                           Page 123
   1     a customer ID number.                It could be a lot of

   2     different things.

   3              Q.         And with that understanding,

   4     are there any unique identifiers in the NCOA

   5     list?

   6              A.         In the context of NCOA, when

   7     the data is transmitted to the compiler who

   8     actually does the matching, there is a unique

   9     identifier built in so that the information

 10      is returned to the exact same record that it

 11      was submitted from.

 12               Q.         Okay.      Could that unique

 13      identifier be matched to the voter file or

 14      would those be two separate --

 15               A.         The voter registration number,

 16      per se, isn't a defined NCOA field, but the

 17      record ID in the database that it's contained

 18      in would be.

 19               Q.         If there was someone who was

 20      John Smith in the NCOA, they would have this

 21      unique identifier that you said the processor

 22      would assign.          That John Smith would have a



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                                                                           Page 124
   1     voter ID unique identifier in the voter file.

   2                         But I'm just trying to confirm

   3     that there is no common unique identifier

   4     that would confirm those are, in fact, the

   5     same John Smiths.

   6              A.         Well, even if you had a John

   7     Smith, Jr., and a John Smith, Sr., that were

   8     living at the same address, those two voters

   9     would have totally different records.

 10                          And, as I mentioned earlier,

 11      when you run NCOA, there could be different

 12      outcomes for those two different individuals.

 13                          As an example, if John Smith,

 14      Jr., is leaving home and establishing their

 15      own residence for the first time, the

 16      United States Postal Service would advise him

 17      to file an individual change of address

 18      rather than a family change of address.

 19                          Because if he files a family

 20      change of address, everybody's mail would be

 21      forwarded to John Smith, Jr., which is an

 22      outcome no one would want.                    So he would file



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                                                                           Page 125
   1     an individual change of address rather than

   2     one for the entire family.

   3                         Now, if the entire family was

   4     moving to a new address, then they would file

   5     a family change of address.

   6              Q.         Maybe another way of asking

   7     this:     Are there any fields that are matched

   8     besides the name and address of the

   9     individuals in these two files?

 10               A.         No.     The matching criteria the

 11      Postal Service uses is a name and address

 12      combination.         But the way the matching

 13      algorithm is built and tested with the NCOA

 14      compilers, it should be able to distinguish

 15      between a John Smith, Jr., and a John Smith,

 16      Sr.

 17               Q.         Okay.      The matching would

 18      include middle names -- let me ask it this

 19      way.     If there's a middle initial in one file

 20      and a middle name or no middle initial or

 21      name in the other, how would that matching

 22      work?



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                                                                           Page 126
   1              A.         If they're different, there

   2     would be a different criteria for the

   3     matching algorithm.              That's governed by the

   4     Postal Service.

   5                         For a licensee to get a

   6     license, there's a test deck that the Postal

   7     Service requires them to process with a very,

   8     very high degree of accuracy in order to get

   9     certification to do that processing to begin

 10      with.     It's very highly regulated by the

 11      United States Postal Service, itself, to

 12      ensure that there is accuracy in the process.

 13                          The whole premise behind the

 14      Postal Service requiring NCOA is to reduce

 15      undeliverable mail.              So they want it to be as

 16      highly accurate as possible.

 17               Q.         Okay.      So your understanding is

 18      if that -- in the voter registration file,

 19      there's a John Adam Smith and then in the

 20      NCOA, it's just John Smith or John A. Smith,

 21      that the licensee who is doing the

 22      processing, would they -- if it was the same



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                                                                           Page 127
   1     address, would that be a match or not be

   2     flagged as a match?

   3              A.         If it makes it through the

   4     United States Postal Service as a matching

   5     algorithm, it may or may not be a match

   6     depending on how it was filed and how the

   7     record being presented is entered into the

   8     system, whether or not there's any mistakes

   9     made by voter registration in entering the

 10      information.

 11                          There's a whole host of factors

 12      that could come into play there, which is why

 13      it's typical to rely on corroborating

 14      evidence when it comes to NCOA.

 15                          For example, the verification

 16      steps that a Secretary of State will go

 17      through to mail people, or an investigation,

 18      such as the Secretary of State's office is

 19      conducting now, or a challenge where a county

 20      would investigate a potential residency

 21      issue, there's normally other information

 22      that comes into play other than just NCOA to



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                                                                           Page 128
   1     make sure that you are talking about the

   2     right person.

   3              Q.         Okay.      And when you were doing

   4     these calculations that we just discussed,

   5     were you doing any of that corroboration --

   6     I think you had 125,000, and then you reduced

   7     it to 110,000.

   8                         Was there any corroboration

   9     with those numbers?

 10                          MS. SIEBERT:            Jacob, again,

 11               objection.

 12                          Are you limiting this to the

 13               challenges that are relevant to --

 14               he's testified he didn't do any

 15               challenges relevant to this lawsuit or

 16               any challenges at all.                  I --

 17                          MR. SHELLY:           It looks like

 18               there's some exhibits that we

 19               discussed in his testimony that his

 20               lists were used for some challenges.

 21               So I think it's relevant to understand

 22               the nature of that.



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                                                                            Page 129
   1                         MS. SIEBERT:             Okay.       Are you

   2              saying that he has testified that his

   3              lists were used for True the Vote's

   4              challenges, which are the challenges

   5              at issue here?

   6                         MR. SHELLY:            Well, Mr. Davis is

   7              a defendant in this case, so I think

   8              all the challenges that he's been

   9              involved with are going to be

 10               relevant.

 11                          MS. SIEBERT:             So it's your

 12               assertion that even though this

 13               lawsuit is about challenges that True

 14               the Vote or people who acted in

 15               concert with True the Vote made, that

 16               challenges that didn't have anything

 17               to do with acting in concert with True

 18               the Vote would be relevant somehow?

 19                          MR. SHELLY:            So our lawsuit

 20               alleges violations of the Civil Rights

 21               Act.     And we name half-a-dozen-or-so

 22               defendants.           And so I think we can



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                                                                           Page 130
   1              explore each of these defendants'

   2              actions that may have fallen under

   3              that statute.

   4                         MS. SIEBERT:            Can you point me

   5              into where the Complaint had any

   6              allegations against Mr. Davis

   7              submitting challenges, doing

   8              databases, anything like that --

   9                         MR. SHELLY:           Part of the --

 10                          MS. SIEBERT:            -- not in

 11               connection with True the Vote.

 12               I mean, I'm just saying, that's not

 13               what your Complaint alleges at all.

 14                          MR. SHELLY:           Well, part of the

 15               purpose of the discovery in this

 16               deposition are to learn more about his

 17               role.      And as we learn more about the

 18               things he's been involved with,

 19               I would like to follow up on those.

 20                          MS. SIEBERT:            Okay.

 21                          MR. SHELLY:           Lisa, could you

 22               read back my last question?                      I've



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                                                                             Page 131
   1              forgotten it.

   2                         THE STENOGRAPHER:                Yes.

   3                         (The record was read back as

   4              follows:

   5                         QUESTION:          "Okay.        And when you

   6              were doing these calculations that we

   7              just discussed, were you doing any of

   8              that corroboration -- I think you had

   9              125,000, and then you reduced it to

 10               110,000.

 11                          "Was there any corroboration

 12               with those numbers?")

 13               A.         Well, yes.

 14                          But to correct that, I believe

 15      the number went from 122-, approximately, to

 16      approximately 110-.              But not all those people

 17      cast ballots.          That number was also a subset

 18      of approximately 313,000 or 314,000 who moved

 19      within the state of Georgia.

 20                          So depending on what subset

 21      of -- group you're talking about, yes, since

 22      the election, tens of thousands of voters



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                                                                           Page 132
   1     have come back and they have updated their

   2     own voter registration information to the

   3     exact same address they gave the Post Office

   4     originally when they moved.                    In other words,

   5     their official address of record now shows

   6     the same address they told the Post Office

   7     that they were moving to.

   8                         Now, the data that the

   9     Secretary of State is investigating, there

 10      were approximately 10,300 or so that had done

 11      that, that had actually cast ballots in the

 12      general election.

 13                          So just to walk you through

 14      that, these were people who filed a change of

 15      address more than 30 days before the election

 16      and went back and voted, according to the

 17      data, in the county they used to live in.

 18      And then following the election, updated

 19      their own registration to the exact same

 20      address they gave to the Postal Service when

 21      they moved originally.                 So, in my mind, that

 22      is definite corroborating evidence.



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                                                                           Page 133
   1                         Now, that number has continued

   2     to climb.       I believe it's now in the

   3     neighborhood of 11,300 or so.                      But voters

   4     continue to come in, as the clock runs, and

   5     update their own registration, basically

   6     confirming that the information they gave to

   7     the Postal Service was accurate.

   8     BY MR. SHELLY:

   9              Q.         Okay.      Can you tell me if I'm

 10      understanding this whole picture correctly:

 11      After the November election, you processed

 12      matches between the NCOA list and the vote

 13      registration file through these other

 14      licensees.        They came up with a figure --

 15               A.         I'm sorry.          I didn't mean to

 16      interrupt.

 17               Q.         No.     Why don't we stop there so

 18      you can clarify to make sure I am

 19      understanding this precisely.

 20               A.         What I'm saying is that

 21      I compared the NCOA information that I got in

 22      November to current voter rolls at various



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                                                                            Page 134
   1     times.      And I think the starting number when

   2     I did it, I think back in May, was around

   3     8,000.      And then I think I did another one --

   4              Q.         Was that May 2020?

   5              A.         Yeah.

   6              Q.         Okay.

   7              A.         The last time that I did it was

   8     at the end of August.                And that number had

   9     risen to 11,300 or so.

 10                          So what the data is indicating

 11      is we have a huge number of Georgians that

 12      appear to not be updating their driver's

 13      licenses or their voter registrations in a

 14      timely manner.

 15                          And then when they finally do

 16      get around to it, they're well beyond what

 17      they were required to do in order to vote in

 18      the general election and what they were

 19      required to do as far as their driver's

 20      license information.

 21                          So, to me, it's clearly an

 22      issue that needs to be addressed.                         And I'm an



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                                                                                 Page 135
   1     advocate for doing that.

   2              Q.         Okay.      And am I recalling and

   3     understanding correctly that earlier in this

   4     conversation, you told me you identified some

   5     of these potentially ineligible voters.                           You

   6     put those on the internet that people could

   7     use to issue challenges.

   8                         Is that right?

   9              A.         People that were permitted

 10      access who wanted to file a challenge could

 11      obtain that information.                  And, yes, file a

 12      challenge so that their county would

 13      investigate potential residency issues with

 14      voters.

 15               Q.         Okay.      And so now my question

 16      is:    Of those names that you identified, was

 17      that the 300-and-some thousand or was that

 18      the 11,000?

 19                          You mentioned, like, a few

 20      different ways you can cut potentially

 21      ineligible voters.             So I'm wondering which

 22      list was provided.



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                                                                            Page 136
   1              A.         That was a different set of

   2     criteria for the runoff than what I was

   3     looking at from the general because the dates

   4     of the elections are different.                       The move

   5     dates affect the calendar different.

   6                         For example, if you moved more

   7     than 30 days before the general within a new

   8     county within the state, then according to

   9     the law and the Secretary of State's own

 10      website, you have to reregister in your new

 11      county.       You're not allowed to continue

 12      voting in your old county.

 13                          The same is true of the runoff,

 14      but the runoff date was a different date.                         So

 15      the criteria for selection was different.

 16                          So the final list, I believe,

 17      wound up being around 40,000-or-so records.

 18      And I believe all the people that were on the

 19      list had cast a ballot in the general

 20      election.       About three-quarters of them

 21      already arguably had residency issues when

 22      they voted in the general; the rest were in a



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                                                                             Page 137
   1     position where they would potentially have

   2     residency issues voting in the runoff.

   3                         And there were voters who

   4     wanted to challenge people in their county

   5     that may come back and vote again or for the

   6     first time with residency issues.                         Because

   7     there was so much evidence that that happened

   8     in the general election, there were a lot of

   9     people interested in helping to ensure that

 10      that didn't happen again in the runoff.

 11               Q.         And that was approximately

 12      40,000 across all 159 counties, or did you

 13      focus only on some counties?

 14               A.         These issues were absolutely

 15      systemic.       They occurred in every county in

 16      the state, every House district in the state,

 17      every Senate district in the state, every

 18      Congressional district in the state.

 19                          And of the people who have

 20      since updated their own registration to the

 21      same address they gave to the Postal Service,

 22      the data indicates approximately 94 percent



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                                                                           Page 138
   1     of them would have been presented with a

   2     ballot with a House district race on it that

   3     they don't live in, about 86 percent with a

   4     Senate district they don't live in, and about

   5     64 percent or so with a Congressional

   6     district they don't live in.

   7                         They would have been presented

   8     with the opportunity to vote for sheriffs,

   9     county commissioners, school board members

 10      that don't represent them, or even voting for

 11      tax increases that they'll never have to pay.

 12                          This is the reason the

 13      residency laws exist to begin with, as far as

 14      my understanding goes, is to ensure that that

 15      gets prevented.

 16               Q.         For the runoff elections in

 17      January, were -- in addition to the statewide

 18      Senate elections, were there other

 19      down-ballot elections in each county?

 20               A.         No.     I'm talking with regard to

 21      the general election.

 22                          But I think what's important to



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                                                                           Page 139
   1     understand, some people, I think, have the

   2     mistaken impression that if it's a statewide

   3     race, then all these residency requirements

   4     should be ignored.

   5                         I don't have that position for

   6     one simple reason:             People who obey those

   7     laws and don't cast unlawful ballots

   8     obviously don't get to vote.                     And people who

   9     break those laws and do cast unlawful ballots

 10      do get their votes counted.

 11                          I have a problem with that.

 12      I think any reasonable voter should be

 13      concerned about that.

 14               Q.         And just to confirm:                  That

 15      40,000 records, that includes people who both

 16      moved within the state but out of their

 17      county and people who moved out of state?

 18               A.         Yes.

 19               Q.         Okay.      And so you put this on

 20      the internet.          And there was a select number

 21      of people who were invited to view it.

 22                          Is that correct?



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                                                                           Page 140
   1              A.         People who wanted to file

   2     challenges would access the data for their

   3     county and download it and then use it to go

   4     file a challenge.

   5              Q.         Okay.      And you worked with

   6     Mr. Somerville on this?

   7              A.         Um-hum.

   8              Q.         And anybody else?

   9              A.         Depends on your definition of

 10      "working with."

 11                          I mean, obviously the people

 12      who filed the challenges were using data that

 13      I generated, but I didn't coordinate who was

 14      going to file what challenge where or, you

 15      know, anything like that.                   You know, I was

 16      busy doing the data processing and the

 17      analysis.       I didn't handle that.

 18               Q.         But am I understanding

 19      correctly, your understanding was that your

 20      data was essentially used for challenges?

 21               A.         Yes.      I'm not sure what, if

 22      any, counties actually accepted any of those



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                                                                                 Page 141
   1     challenges, but my understanding is that some

   2     of them were filed.

   3                         As you mentioned earlier,

   4     I believe most were rejected, perhaps even

   5     all.     I don't know.

   6              Q.         Do you have a ballpark of how

   7     many counties your data was used for

   8     challenges in?

   9              A.         I do not.

 10               Q.         Do you know if any were used in

 11      Gwinnett County?

 12               A.         I don't.         I don't know.

 13               Q.         Did you consider filing one in

 14      Gwinnett County with your own data?

 15               A.         I did not.          I had heard

 16      challenges were going to be filed in Gwinnett

 17      County.       I didn't know whose challenge.                      And

 18      I didn't have the time to do it anyway.                           And

 19      there were plenty of people interested in

 20      doing it, so I just -- I stayed uninvolved.

 21               Q.         Okay.

 22                          MR. SHELLY:           Henry, can we pull



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                                                                           Page 142
   1              up Exhibit F.

   2                         (Davis Exhibit F, Mark

   3              Davis Facebook Post, December 17,

   4              2020, No Bates, was marked for

   5              identification, as of this

   6              date.)

   7     BY MR. SHELLY:

   8              Q.         I think you mentioned this post

   9     earlier, Mr. Davis, but are you familiar with

 10      this?

 11               A.         Yes.

 12               Q.         Can you describe it for the

 13      record.

 14               A.         It's a copy of Derek's post,

 15      looking for volunteers who may be interested

 16      in filing challenges.

 17               Q.         And these were to file

 18      challenges with the data that you

 19      specifically generated; correct?

 20               A.         That's my understanding.

 21                          He was -- my understanding is

 22      also that he was also not involved with True



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                                                                            Page 143
   1     the Vote's challenges.

   2              Q.         Okay.       Did any potential

   3     volunteers respond to this post?

   4              A.         I don't recall any responding

   5     to me.        They may have.            And I told them to

   6     see Derek if they did.                  But I don't recall

   7     specific -- if you want to check out those

   8     two comments, we might be able to figure that

   9     out, but...

 10               Q.         Okay.       Okay.

 11                          And then we'll pull up

 12      Exhibit E.

 13                          (Davis Exhibit E, Zoom

 14               meeting invitation (TTV Legal

 15               Update), 12/27/20, No Bates,

 16               was marked for identification,

 17               as of this date.)

 18      BY MR. SHELLY:

 19               Q.         Are you familiar with this

 20      document?

 21               A.         (Document[s] reviewed.)

 22                          It appears to be an invitation



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                                                                              Page 144
   1     to a Zoom call.           That may have been the one

   2     that I talked about earlier, where they gave

   3     everybody an update of some sort.

   4              Q.         Okay.      Let's come back to this

   5     one.

   6                         MR. SHELLY:           Can we jump to

   7              Exhibit J.

   8                         (Davis Exhibit J, Zoom

   9              meeting invitation, 12/30/20

 10               (Georgia Elector Challenger

 11               Townhall), No Bates, was marked

 12               for identification, as of this

 13               date.)

 14      BY MR. SHELLY:

 15               Q.         This one sounds a little bit

 16      more like the group meeting that you're

 17      describing.         This is a December 20 [sic]

 18      Georgia Elector Challenger Town Hall.

 19               A.         If I recall correctly,

 20      I thought both were group meetings.                          And I

 21      can't remember if I went to one or both.

 22      I may have done both.                I don't recall.



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                                                                           Page 145
   1              Q.         Okay.

   2                         MS. SIEBERT:            Mr. Shelly, I'm

   3              sorry.      Could I clarify?

   4                         I believe the date on that is

   5              December 30th, not December 20th.

   6                         MR. SHELLY:           Oh.      Small print

   7              on mine.       You're right.

   8                         MS. SIEBERT:            No.      It's fine.

   9              I just wanted to make sure the record

 10               was clear.         Thank you.

 11      BY MR. SHELLY:

 12               Q.         Okay.      But, Mr. Davis, fair to

 13      say you -- Ms. Engelbrecht invited you to

 14      meetings, one on December 27 and one on

 15      December 30th.          And you think you attended

 16      one or perhaps both of them?

 17               A.         Correct.

 18               Q.         Okay.      And the previous one,

 19      which was Exhibit E --

 20                          MR. SHELLY:           Is it easy to flip

 21               back to that, Henry?

 22



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                                                                           Page 146
   1     BY MR. SHELLY:

   2              Q.         -- it looks like this one was

   3     between Ms. Engelbrecht, Mark Davis, and

   4     Derek Somerville, and you.

   5                         To the extent this was a

   6     smaller group meeting, does that refresh your

   7     memory about what it was about?

   8              A.         I don't recall having a meeting

   9     that small.         I recall one, possibly two, that

 10      were numerous people.

 11               Q.         Okay.

 12               A.         I could be mistaken, but

 13      I don't believe so.

 14               Q.         Okay.

 15                          Mr. Davis, do you have any

 16      legal background or formal training?

 17               A.         No.     I'm not an attorney.

 18      I was raised by one, but I'm not an attorney.

 19               Q.         Okay.

 20                          MR. SHELLY:           I think I'm almost

 21               done.      Can we take a short, maybe,

 22               five-minute break, just to make sure



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                                                                            Page 147
   1              I've asked everything that I have on

   2              my list?

   3                         MS. SIEBERT:            Sounds good.

   4                         THE VIDEOGRAPHER:                The time is

   5              11:49 a.m.         Going off the record.

   6                         (Recess taken.)

   7                         THE VIDEOGRAPHER:                The time is

   8              11:54 a.m.         Back on the record.

   9     BY MR. SHELLY:

 10               Q.         I do have just a few final

 11      questions for you, Mr. Davis.                      I want to make

 12      sure I understand the mechanics of this

 13      matching, as I'm calling it, the best I can.

 14                          Another example:               If a person's

 15      last name is hyphenated in one file but not

 16      the other, would that show up as a match?

 17      Or, my understanding, that that would depend

 18      entirely on the algorithm that is being used?

 19               A.         It depends on the matching

 20      algorithm used by the Postal Service.

 21                          If there is -- if there's not a

 22      match, then I would not be provided with a



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                                                                           Page 148
   1     new address, so they wouldn't be on the list

   2     to begin with.

   3              Q.         Okay.      Your list of

   4     approximately 40,000 names that you

   5     identified of people who voted in the general

   6     or otherwise you were concerned about their

   7     eligibility to vote, did that include anyone

   8     who was registered or moved to a military

   9     base?

 10               A.         Derek is also a former Marine,

 11      and we did the best that we could to scrub

 12      military bases out of there.

 13                          But, again, as I mentioned

 14      earlier, when someone files a permanent

 15      change of address when they really intend to

 16      go away temporarily, that is something that

 17      needs to be addressed with some sort of

 18      investigation, either mailing them a letter

 19      or a notice, as the Secretary of State does,

 20      or sending an investigator to ask that

 21      person, you know:             Did you move from this

 22      address to that address?                  Was it a temporary



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                                                                           Page 149
   1     move or a permanent move?                   Or an

   2     investigation by a county that accepts a

   3     challenge.

   4                         There's additional data to be

   5     gathered.       This is a place to begin the

   6     process, but it's not the be all end all of

   7     any of these processes.

   8              Q.         You mentioned -- did

   9     Mr. Somerville remove the military names, or

 10      is that something that you did yourself?

 11               A.         I had him do it because he's

 12      aware of where the big military bases are and

 13      did his best to scrub any of them out of the

 14      data.

 15               Q.         Okay.      Do you have -- do you

 16      know how many names that removed?

 17               A.         I don't recall.

 18               Q.         And did you do any similar

 19      scrubbing for other reasons?                     A person could

 20      be in a similar situation?                    For example,

 21      people who are registered and on a college

 22      campus?



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                                                                           Page 150
   1              A.         Not that I recall.                I know

   2     there's a very low number of college-age

   3     voters on the list.              But, again, those issues

   4     are basically the subject of the inquiry,

   5     whether that's done through the mail by the

   6     Secretary of State or done by the county

   7     board of elections in reviewing a challenge

   8     or done by the Secretary of State's office as

   9     they continue to investigate these issues.

 10               Q.         And do you think that the

 11      county boards of election could do the proper

 12      investigation for 40,000 names before the

 13      runoff election?

 14               A.         Well, that's a statewide

 15      number.       No county has near that total.

 16               Q.         But -- so did you think that

 17      each county could perform all the

 18      investigations they needed to do before the

 19      election?

 20               A.         I don't know.             That's for the

 21      county to determine.               It's up to the county

 22      to accept or reject a challenge.                        And, as



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                                                                           Page 151
   1     you're aware, many of them did reject them.

   2                         You know, that was part of the

   3     reason that I, you know, limited the scope of

   4     the challenges, is because, A, since they had

   5     already voted in the general and many of them

   6     already with potential residency issues, I

   7     felt like that was on stronger footing, as

   8     far as the counties go, in their ability to

   9     process a challenge as well as and the

 10      strength of the challenge itself.

 11                          So, yeah, I would agree that

 12      the larger the number is, the more difficult

 13      it is on the counties.                 And, in part, I think

 14      that may be part of the reason that some of

 15      the counties rejected challenges, because

 16      they just didn't want to deal with it.

 17                          And then part of the other

 18      reason is the threat of a lawsuit backed by

 19      an organization with millions of dollars

 20      behind them.         A lot of voters were

 21      intimidated and a lot of counties were

 22      intimidated.



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                                                                           Page 152
   1              Q.         Do you intend to file any

   2     challenges in the future?

   3              A.         I hope that I don't have to.

   4     I hope that these issues will be addressed by

   5     our elected officials.

   6                         I do intend to keep researching

   7     these issues in the future and identifying

   8     and calling attention to these issues as I've

   9     done for 20 years.             I intend to remain an

 10      advocate for election integrity, yeah.

 11                          I don't think it's okay for

 12      people to vote in districts they don't live

 13      in for people who don't represent them.

 14      I think all Americans should view it that

 15      way.     Voting for our representatives is the

 16      bedrock of our Constitutional republic.

 17      I don't think it's acceptable that we have

 18      people casting unlawful ballots.

 19               Q.         A second ago you mentioned that

 20      this process has resulted in the intimidation

 21      of a lot of voters.

 22                          Can you elaborate on what you



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                                                                                 Page 153
   1     meant by that?

   2              A.         I'm talking about the lawsuits

   3     from Fair Fight as well as the lawsuits

   4     against the county from -- what's the other

   5     organization?          I forget the name of the other

   6     organization, but I think your firm

   7     represents them as well.

   8              Q.         But am I correct to understand

   9     you intend to continue running the similar

 10      calculations to what you've been doing?                           And

 11      if you receive similar results, you would

 12      support similar challenges in the future?

 13               A.         If necessary, I would say that

 14      there's a likelihood that I will continue to

 15      participate in election integrity efforts

 16      along these lines.             With that said, as I said

 17      before, I would hope that our state will take

 18      action to help address this problem.

 19                          One obvious solution is for the

 20      Secretary of State to proactively run the

 21      same analysis that I did ahead of an

 22      election, identify voters with potential



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                                                                           Page 154
   1     residency issues, and then advocate, as he

   2     always does, for voters to jump online, take

   3     a few minutes and update their registration

   4     and make sure that it's current so that they

   5     can vote.       They can vote lawfully, and they

   6     can vote for the people who actually

   7     represent them.

   8                         I don't see a conflict with the

   9     NVRA over that.           Again, I'm not a lawyer, but

 10      advocating that they keep their own

 11      registration information current I don't

 12      think violates the NVRA.

 13                          In fact, in the NVRA itself,

 14      when a Secretary of State is performing their

 15      own routine list maintenance and they

 16      encounter a voter who has changed

 17      jurisdictions -- which, in our case, is a

 18      county or municipality -- they're actually

 19      required to tell that voter what they need to

 20      do to update the registration.

 21                          So I don't see any inherent

 22      conflict in addressing these issues



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                                                                           Page 155
   1     proactively.         And I would advocate that we

   2     do.

   3                         While we may be able to

   4     discover how many people voted illegally,

   5     I don't think we'll ever know how many people

   6     would have voted if they didn't have to break

   7     the law to do it.

   8                         So I'm in favor of -- all the

   9     110,000 or so that may have had these issues,

 10      I'm in favor of them all correcting those

 11      issues ahead of an election, having their

 12      current addresses on file, and voting

 13      lawfully.

 14                          MR. SHELLY:           I appreciate your

 15               time, Mr. Davis.              That's all I have

 16               for you this morning.

 17                          THE DEPONENT:             Okay.

 18                          MR. SHELLY:           Ms. Siebert, any

 19               from you?

 20                          MS. SIEBERT:            Yeah, I have some

 21               follow-ups.

 22



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                                                                           Page 156
   1                               EXAMINATION

   2     BY MS. SIEBERT:

   3              Q.         Mr. Davis, you had said lots of

   4     voters are intimidated.                 And Mr. Shelly asked

   5     you a follow-up question on that.

   6                         When you -- in that sentence,

   7     when you said "lots of voters were

   8     intimidated," were you referring to the

   9     voters who were challenged or the voters who

 10      submitted challenges?

 11               A.         I'm talking about the voters

 12      who submitted challenges or perhaps would

 13      have.

 14                          You know, when a law firm with

 15      tens of millions of dollars behind them comes

 16      after an individual, it is intimidating.

 17      And, you know, when a county gets the message

 18      loud and clear that if they accept a

 19      challenge, they may also become a target,

 20      I do think that is intimidating.

 21                          And I do think that is a --

 22      does have a major chilling effect on our



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                                                                             Page 157
   1     First Amendment right to petition our

   2     government for the redress of grievances as

   3     -229 and -230 are intended to permit under

   4     state law.

   5              Q.         Thank you.

   6                         Was your data that you

   7     compiled/used used in any challenge in which

   8     True the Vote was involved in?

   9              A.         As far as I'm aware, no, there

 10      was no overlap.           You were either going to

 11      file a True the Vote challenge or you were

 12      going to file somebody else's challenge.                          And

 13      there were a lot of different challenges in

 14      this election.          Some were filed individually,

 15      some were filed collectively.

 16                          I'm not aware of every

 17      challenge that was filed in Georgia or who

 18      was behind it or who the players were or any

 19      of that kind of stuff.                 But, no, I do not

 20      believe that any of my data was filed to

 21      challenge in any county on behalf of True the

 22      Vote.     That would have been their own.



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                                                                           Page 158
   1              Q.         Okay.      What is your

   2     understanding -- and I understand you've

   3     testified you're not an attorney, but what is

   4     your understanding of the challenge process

   5     under Section 230 in Georgia?

   6              A.         I'd have to go back and review

   7     the statute to really get into it, but, in

   8     general, my understanding is that a county

   9     can consider whether or not they wish to

 10      accept the challenge.                And then there's

 11      procedures set forth for how they go about

 12      conducting an investigation into the

 13      challenge and contacting voters to verify

 14      residency and so on, so forth.

 15                          And I believe -- if I'm not

 16      mistaken, I believe the recent law may have

 17      changed that a little.                 I'd have to go back

 18      and read it and make sure that I'm current on

 19      what it was and what it is.

 20               Q.         Is it your understanding if I

 21      turn up on a challenge list in Gwinnett

 22      County, does that mean I'm not allowed to



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                                                                           Page 159
   1     vote?

   2              A.         No, it does not.

   3                         My understanding is it just

   4     means increased scrutiny as to whether or not

   5     you're truly eligible.

   6                         You know, despite the rhetoric

   7     out there, a -230 challenge is not a

   8     challenge to a voter's ability to be on the

   9     rolls; it's a challenge to their

 10      qualifications to vote in a particular

 11      election.

 12                          And, you know, there's a clear

 13      distinction there.             And there's a reason that

 14      there's two completely different statutes,

 15      and there's a reason people specifically said

 16      21-2-230 as grounds for a challenge rather

 17      than citing 21-2-229.

 18                          Now, I'm not saying nobody

 19      submitted any -229 challenges.                       But as far

 20      as I'm aware, True the Vote relied on

 21      21-230 [sic], and so did many of the other

 22      challenges.



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                                                                                  Page 160
   1                         Could there be one under -229

   2     somewhere out there by somebody?                        I don't

   3     know.

   4              Q.         So what's your understanding of

   5     what happens when a challenged voter, under

   6     Section 230 -- let's just assume that.                            When

   7     a Section 230 challenged voter shows up to

   8     vote or sends back an absentee ballot, what

   9     happens?

 10               A.         Well, I think there's a field

 11      in the -- in E-Net or ElectioNet that flags a

 12      voter that may have been challenged.

 13                          As far as the specifics,

 14      I believe that they are contacted and

 15      interviewed before they cast the ballot,

 16      rather than after they've cast the ballot.

 17      In fact, I believe once they've already cast

 18      the ballot, it's too late to challenge them.

 19                          I may have that wrong, but

 20      that's my understanding.

 21               Q.         Thank you.

 22                          If a Section 230-challenged



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                                                                           Page 161
   1     voter shows up to vote at a county board of

   2     election location and they've been

   3     challenged, are they allowed to cast a vote?

   4     Are they allowed to cast what's known as a

   5     provisional ballot?

   6                         What's your understanding of

   7     that?

   8              A.         Let me get you to repeat that.

   9              Q.         Yeah.      Sorry.         I had a lot of

 10      comments there.

 11                          If a Section 230-challenged

 12      voter shows up to vote at a county

 13      election -- board of election, are they

 14      allowed to cast a ballot?                   Is the ballot

 15      provisional?

 16                          What is your understanding of

 17      that?

 18               A.         Well, if the county turned down

 19      the challenge, I don't see anything

 20      preventing them from voting.                     If the county

 21      accepted the challenge, again, if they've

 22      already cast a ballot, then it's too late.



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                                                                           Page 162
   1                         But if they have not and the

   2     challenge can be conducted before they have,

   3     then I guess it would depend on the outcome

   4     of the county's review of the challenge for

   5     that particular voter and what information

   6     they learn from the voter.

   7                         If the voter says, you know,

   8     I'm a soldier.          I've been away on a tour of

   9     duty, or I'm a student, I still live at that

 10      address, I'm just temporarily out of the

 11      state or out of the county or what have you,

 12      then I would assume the county would permit

 13      them to vote, as they should.

 14                          But if the person says, Well,

 15      yeah, I did move to California or I did move

 16      to New Jersey or, you know, I did move from

 17      Cobb County the middle of last year, then

 18      I would assume they would inform them that

 19      they can only vote via provisional ballot.

 20               Q.         What's your understanding of

 21      what a provisional ballot is and how that is

 22      counted or not counted within the whole



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                                                                           Page 163
   1     process of voting?

   2              A.         I believe they're done for a

   3     variety of reasons, but my understanding is

   4     they occur when a voter believes they have

   5     the qualifications to cast a ballot, and the

   6     county has concerns that they may not.

   7                         And so a provisional ballot is

   8     recorded in case some judge somewhere rules

   9     that they are, in fact, able to cast that

 10      ballot.

 11                          I'll end there.

 12               Q.         Okay.      So if somebody casts a

 13      provisional ballot, does that mean that their

 14      vote doesn't -- automatically does not count?

 15               A.         No.

 16               Q.         Okay.

 17               A.         In fact, in 2018, in the

 18      Democrat Party versus Crittenden, I think

 19      there was an argument made that statewide

 20      provisional ballots should have been counted.

 21      There were several thousand of them.

 22                          And I believe the federal judge



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                                                                           Page 164
   1     that heard that ruled that he wasn't going to

   2     overrule the county's decision on those.

   3                         And they were cast with

   4     apparent residency issues similar to this.

   5     And I believe he did not allow those ballots

   6     to be counted in the governor's race.

   7              Q.         Okay.      But that went through a

   8     process.       That wasn't an automatic, that as

   9     soon as they cast the --

 10               A.         Right.

 11               Q.         -- provisional ballot, it just

 12      didn't count --

 13               A.         Right.

 14               Q.         -- there was a process after

 15      that.

 16                          Okay.      All right.

 17                          Do you know if -- when

 18      challenges are submitted in any particular

 19      county, do those challenge lists become

 20      public -- does the county publish those

 21      challenge voter lists?

 22               A.         My understanding is that they



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                                                                           Page 165
   1     would be subject to an open records request,

   2     but it would be the county providing them, as

   3     such.

   4                         I'm not aware of challengers

   5     who put them out on the internet or published

   6     them in a newspaper or, you know, anything

   7     like that.        I don't see any real reason that

   8     that needs to be done.

   9              Q.         Okay.

 10                          When you're -- and I understand

 11      earlier you testified that there was a

 12      difference in the data analysis -- well, let

 13      me ask it in the form of a question.

 14                          My understanding of your

 15      earlier testimony is that, in general,

 16      there's a difference between the data

 17      analysis your company runs when you're doing

 18      work for a campaign or for some sort of

 19      marketing or mass mailing and the data

 20      analysis it does on a voter integrity kind of

 21      issue.

 22               A.         Yes.



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                                                                           Page 166
   1              Q.         Is that correct?

   2              A.         Yes --

   3              Q.         Okay.

   4              A.         -- it's quite different.

   5              Q.         Okay.      So thinking about within

   6     that -- within that scope of the data

   7     analysis that you have ever done in voter

   8     integrity issues, so discounting campaign,

   9     discounting any other kind of marketing or

 10      mass mail data analysis that you've done, so

 11      in the voter integrity data analysis that

 12      you've done, have you ever done any data

 13      analysis where you focused on any particular

 14      demographic of the individuals?

 15               A.         Well, it depends on how you

 16      define the word "demographic."

 17               Q.         Race, sex, things like that.

 18               A.         No.

 19               Q.         Okay.

 20               A.         The analysis that I did for

 21      challenges, there were Republicans that were

 22      challenged, there were Democrats that were



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                                                                           Page 167
   1     challenged.         There were people of all race,

   2     male and female and I guess other or -- there

   3     was no criteria by any of that stuff that

   4     comes to mind that was used.

   5                         I mean, at the end of the day,

   6     a vote is either a lawful ballot or an

   7     unlawful ballot, whether you're talking about

   8     a Democrat or a Republican.

   9              Q.         So in the voting integrity

 10      analysis data that you've done, is it fair to

 11      say that you are agnostic as far as race,

 12      gender, sex, even political party?

 13               A.         I deliberately avoided making

 14      decisions along those lines.

 15                          Now, subsequent to all of this,

 16      my understanding is the Secretary of State's

 17      office chose, on their own, to run some

 18      background on voting histories of some of

 19      these voters that were -- that they're

 20      investigating.          But I didn't even want to

 21      look.

 22                          So what they came up with, what



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                                                                           Page 168
   1     they showed, is that this was not a highly

   2     partisan group of voters that were not --

   3     there were -- there was some primary vote

   4     history.

   5                         And in some of these voters'

   6     background, but compared to your average

   7     general election voter, most of these folks

   8     appeared to be low-interest voters or

   9     less-involved voters, in terms of voting

 10      every time in every election or in every

 11      primary or what have you.

 12               Q.         And, again, was that across the

 13      spectrum of political party, race, gender,

 14      all of that kind of thing, or --

 15               A.         Based on what the Secretary of

 16      State's office saw, I recall seeing some

 17      primary vote history.                I don't recall seeing

 18      them do any kind of racial breakdown on it.

 19      That's something that I can do.                       It's

 20      something that I haven't done, but, you know,

 21      I do obviously have the data to be able to do

 22      that.



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                                                                                  Page 169
   1                         But as far as challenges go,

   2     there was no racial motivation here.                              Blue

   3     counties and red counties weren't treated

   4     differently.         There was no -- none of that

   5     going on.

   6              Q.         I'm just thinking for a second

   7     to see if I have any other follow-ups on

   8     that.

   9                         (Pause.)

 10                          How is it possible, in Georgia,

 11      to do any kind of -- whether it be an

 12      advanced or -- would it be possible in

 13      Georgia to do some sort of data analysis on

 14      the basis of race compared to other rolls?

 15               A.         Yes.      There are categories for

 16      race on the voter database.                    There's

 17      African-American voters, there's white

 18      voters, there's other.                 I believe Native

 19      Americans.        There's a number of different

 20      categories, so it would be possible to do a

 21      study of these voters by race.

 22                          I would not expect the numbers



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                                                                                    Page 170
   1     there to be considerably out of whack with

   2     the general population's numbers.                         But,

   3     again, I haven't done that so I couldn't tell

   4     you.

   5              Q.         Do you understand -- does

   6     every -- do you know, do other states track

   7     voter data connected with race in things like

   8     that or not?

   9                         In other words, if I live in

 10      Ohio -- I don't even know, honestly.                              I live

 11      in Ohio.

 12               A.         Yeah, I really have not worked

 13      with much voter data outside of Georgia.

 14               Q.         Okay.

 15               A.         I believe that I did do a

 16      little work in North and South Carolina at

 17      one point, and I don't recall what was or

 18      wasn't on their database.

 19                          I know that, you know, some

 20      states manage things fairly similarly and

 21      others very differently.                  So, I mean, at the

 22      end of the day, they all have to be in



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                                                                           Page 171
   1     compliance with the NVRA.                   But other than

   2     that, I have not worked with a lot of voter

   3     data outside of our own state.

   4              Q.         That's fair.            That's fair.

   5                         To your knowledge or your

   6     understanding, when somebody does -- an

   7     individual decides to make a Section 230

   8     challenge in their county, is the process

   9     that they would -- that that individual would

 10      then go knock on somebody's door and say,

 11      Hey, I don't think you're eligible to vote in

 12      Gwinnett County?

 13               A.         No.     I see no reason to do

 14      that.

 15               Q.         Okay.

 16               A.         In fact, I would -- if I were

 17      asked about it, I would encourage people to

 18      avoid any kind of contact with these voters

 19      unless it's done by an elected official or a

 20      county official or someone conducting an

 21      official investigation.

 22                          As an example, I would hope



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                                                                           Page 172
   1     that the investigation the Secretary of State

   2     is doing now, you know, I hope there are

   3     investigators asking people where they lived

   4     on what date and trying to establish, you

   5     know, how many violations of law did occur.

   6                         And it's not that I'm

   7     particularly interested in pursuing these

   8     people, but what I am interested in is

   9     establishing the magnitude of the problem so

 10      that there is motivation, hopefully

 11      bipartisan motivation, to take steps to

 12      correct this.

 13                          I would hope both parties and

 14      every interested voter would have an interest

 15      in making sure people are voting in the

 16      districts that they belong in.

 17               Q.         Do you know of anything -- any

 18      instance outside of election officials or

 19      some sort of official investigation that may

 20      or may not have happened, do you know of any

 21      instances in which a challenger personally

 22      contacted a person that was being challenged



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                                                                                   Page 173
   1     and tried to do their own ad hoc

   2     investigation outside of those challenges?

   3              A.         Not that I'm aware of, no.

   4              Q.         Okay.      Anywhere in Georgia, is

   5     that what your testimony is?

   6              A.         I'm not aware of anybody

   7     contacting individual voters and doing

   8     anything like that.               That's not their job.

   9              Q.         Okay.      All right.

 10                          MS. SIEBERT:            I think that's

 11               all the follow-up I have at this

 12               point.

 13                          MR. SHELLY:           I don't have

 14               anything further.

 15                          THE DEPONENT:             Okay.

 16                          THE VIDEOGRAPHER:                Okay.        Going

 17               forward.       The time is 12:21 p.m.                    Off

 18               the record.

 19                          (Recess:         12:21 p.m. EDT)

 20                                    -    -    -

 21

 22



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                                                                           Page 174
   1                      CERTIFICATE
   2                I, LISA A. KNIGHT, Registered
         Diplomate Reporter and Certified Realtime
   3     Reporter, do hereby certify that prior to the
         commencement of the examination, MARK DAVIS
   4     was duly sworn by me to testify to the truth,
         the whole truth, and nothing but the truth.
   5                I DO FURTHER CERTIFY that the
         foregoing is a verbatim transcript of the
   6     testimony as taken stenographically by and
         before me at the time, place, and on the date
   7     hereinbefore set forth, to the best of my
         ability, and that reading and signing was not
   8     requested.
                    I DO FURTHER CERTIFY that I am
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         nor counsel of any of the parties to this
 10      action, and that I am neither a relative nor
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 11      that I am not financially interested in the
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 12
 13
 14
 15               __________________________________
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 18               NCRA Certified Realtime Reporter
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                                                                           Page 175
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  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: October 4 2021

  5           Deponent: Mark Davis

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

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 16           not hesitate to call our office at (202)-232-0646.

 17

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  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
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  9
 10             (Check appropriate box):
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 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
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 13             correct and complete transcription of the
                answers given by me to the questions therein
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  6                                          ERRATA SHEET

  7

  8             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

  9             Witness Name: Mark Davis

 10             Deposition Date: October 4, 2021

 11             Page No.        Line No.              Change

 12

 13

 14

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 17

 18

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